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                                   Exhibit “B”
                      Asset Purchase Agreement (with Schedules)
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                          ASSET PURCHASE AGREEMENT

                                  BY AND BETWEEN

                WIGGINS GAS PROPANE & ALTERNATIVE FUELS LLC

                                         AND

      CHRISTINE C. SHUBERT, IN HER CAPACITY AS CHAPTER 7 TRUSTEE
           FOR THE ESTATES OF WORLEY & OBETZ, INC., ET AL.




                                    August 24, 2018




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                             ASSET PURCHASE AGREEMENT

         THIS ASSET PURCHASE AGREEMENT dated as of August 24, 2018 (this
“Agreement”) is entered into by and between Christine C. Shubert, in her capacity as Chapter 7
Trustee (“Seller”) for the estates of (i) Worley & Obetz, Inc. (Case No. 18-13774-REF);
(ii) Americomfort, Inc., Case No. 18-13775-REF); (iii) Amerigreen Energy, Inc. (Case No. 18-
13777-REF); (iv) Advance Air, Inc. (Case No. 18-13778-REF); (v) Amerigreen Energy Brokers,
LLC (Case No. 18- 13779-REF); (vi) Amerigreen Electricity, LLC (Case No. 18-13780-REF);
(vii) Amerigreen Hedging Services, LLC (Case No. 18-13781-REF); (viii) Amerigreen
Lubricants, LLC (Case No. 18-13782-REF); (ix) Amerigreen Natural Gas, LLC (Case No. 18-
13783-REF); and (x) Amerigreen Propane, LLC (Case No. 18-13784-REF) (collectively, the
“Debtors”) and Wiggins Gas Propane & Alternative Fuels LLC, a Delaware limited liability
company (or its Assignee, “Purchaser”). Purchaser and Seller are sometimes individually referred
to in this Agreement as a “Party” and collectively as the “Parties.”

                                          RECITALS:

        WHEREAS, prior to the Petition Date (as defined below), Debtor Worley & Obetz, Inc.
(“W&O”), and certain Affiliates (as defined below) provided certain energy products and services
to their commercial and residential clients, including fuel, bio-heating oil, biodiesel, propane,
gasoline, natural gas and electricity (the “W&O Business”);

        WHEREAS, prior to the Petition Date, Debtor Amerigreen Energy, Inc. and certain
Affiliates operated as an energy wholesaler to retail distributors operating in the Mid-Atlantic and
New England markets and provided certain energy products and services to their retail fuel
distributors, fuel stations, commercial clients, and commercial and residential clients of W&O,
including ethanol, biodiesel, biofuels, and petroleum, as well as hedging and marketing services,
and electricity and gas plans (together with the W&O Business, the “Business”);

        WHEREAS, on June 6, 2018 (the “Petition Date”), the Debtors filed voluntary petitions
for relief under chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District of
Pennsylvania (the “Bankruptcy Court”);

        WHEREAS, Seller is the duly appointed and acting Chapter 7 trustee for each of the
Debtors’ bankruptcy cases which are now jointly administered under Case No. 18-13774 (REF)
(Jointly Administered) (collectively, the “Bankruptcy Cases”);

        WHEREAS, Seller desires to sell, transfer, convey, assign and deliver the Purchased
Assets (as defined below) and to assign the Assumed Liabilities (as defined below), and Purchaser
desires to purchase, take delivery of and acquire such Purchased Assets and to assume such
Assumed Liabilities, in each case on an “AS IS, WHERE IS” basis except for the representations
and warranties expressly set forth in Section 3 below and upon the terms and subject to the
conditions set forth herein; and

       WHEREAS, the transactions contemplated by this Agreement (the “Transactions”) will
be consummated pursuant to an Approval Order (as defined below) to be entered in the Bankruptcy



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Cases pursuant to §§ 105, 363, 365 and other applicable provisions of the Bankruptcy Code, and
the Transactions and this Agreement are subject to the approval of the Bankruptcy Court.

       NOW, THEREFORE, in consideration of the foregoing and the mutual agreements,
covenants, representations, warranties and promises set forth herein, and in order to prescribe the
terms and conditions of such purchase and sale, intending to be legally bound, the Parties agree as
follows:

       1.      Definitions.

             1.1      Definitions. The following terms, as used herein, have the following
       meanings:

                       (a)     “Acquired Owned Real Property” means all of the real property,
               together with all Improvements located thereon and all easements, rights of way,
               servitudes, tenements, hereditaments, appurtenances, privileges and other rights
               and interests appurtenant thereto, owned in fee by Seller, and any part or parcel
               thereof set forth on Schedule 2.1(a).

                       (b)     “Affiliate” means, with respect to any Person, any other Person
               directly or indirectly controlling, controlled by or under common control with, such
               other Person.

                       (c)    “Bid Protection” means an amount equal to 3% of the Purchase
               Price, or $243,000.

                       (d)    “Break-Up Fee” means an amount equal to 3% of the Purchase
               Price, or $243,000.

                       (e)   “Business Day” means a day other than Saturday, Sunday or other
               day on which commercial banks in Pennsylvania are authorized or required by Law
               to close.

                      (f)   “CERCLA” means the Comprehensive Environmental Response,
               Compensation and Liability Act of 1980, as amended (42 U.S.C. § 9601 et seq.),
               and any Laws promulgated thereunder.

                     (g)    “Claim” means a “claim” as defined in Section 101 of the
               Bankruptcy Code.

                      (h)     “Closing Date” means the date of the Closing.

                      (i)     “Code” means the Internal Revenue Code of 1986, as amended.

                       (j)   “Cure Costs” means all amounts that must be paid and all
               obligations that otherwise must be satisfied, including pursuant to
               Sections 365(b)(1)(A) and (B) of the Bankruptcy Code, in connection with the



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               assumption and/or assignment of the Assumed Contracts to Purchaser as provided
               herein.

                      (k)     “Employee” means an individual who is employed by the Debtors,
               whether on a full-time or a part-time basis, whether active or inactive as of the
               Closing Date, and includes an employee on short-term or long-term disability leave.

                        (l)      “Employee Benefit Plan” means any “employee benefit plan” (as
               defined in ERISA §3(3)) and any other benefit or compensation plan, program,
               agreement, arrangement or payroll practice (whether written or unwritten)
               maintained, sponsored, or contributed or required to be contributed to by Seller or
               any ERISA Affiliate or with respect to which Seller or any ERISA Affiliate has any
               liability as set forth on Schedule 3.12(a).

                       (m)    “Environmental Laws” means, whenever in effect, all federal, state,
               and local Laws and other provisions having the force or effect of Law, all judicial
               and administrative Orders and determinations, all contractual obligations and all
               common Law, in each case concerning public or employee health and safety,
               pollution or protection of the environment, including all those relating to the
               presence, use, production, generation, handling, transportation, treatment, storage,
               disposal, processing, discharge, Release, threatened Release, control or cleanup of
               any Hazardous Substances or wastes (including CERCLA and analogous state
               Laws).

                      (n)    “ERISA” means the Employee Retirement Income Security Act of
               1974, as amended, and all Laws issued thereunder.

                      (o)     “ERISA Affiliate” means any Person that, at any relevant time, is or
               was treated as a single employer with Seller for purposes of Code § 414.

                       (p)    “Governmental Authority” means any federal, state, local,
               municipal, foreign, supranational or other governmental or quasi-governmental
               authority of any nature (including any governmental agency, branch, bureau,
               commission, department, official or entity and any court or other tribunal), or any
               administrative, executive, judicial, legislative, police, regulatory or Taxing
               Authority, or arbitral body.

                       (q)   “Hazardous Substances” means any substance, material or waste
               regulated by any Governmental Authority, including any material, substance or
               waste which is defined as a “hazardous waste,” “hazardous material,” “hazardous
               substance,” “extremely hazardous waste,” “restricted hazardous waste,”
               “contaminant,” “toxic waste,” “pollutant” or “toxic substance” under any provision
               of Environmental Law, and including petroleum, petroleum products, asbestos,
               presumed asbestos-containing material or asbestos-containing material, urea
               formaldehyde and polychlorinated biphenyls.

                        (r)    “Improvements” means all buildings, improvements, structures,
               streets, roads and fixtures located, placed, constructed or installed on or under the

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               Acquired Owned Real Property or the Leased Real Property, including all utilities,
               fire protection, security, surveillance, telecommunications, computer, wiring,
               cable, heat, exhaust, ventilation, air conditioning, electrical, mechanical, plumbing
               and refrigeration systems, facilities, lines, installations and conduits.

                        (s)      “Intellectual Property Rights” means all of Seller’s intellectual
               property rights including, but not limited to: (i) patents, patent applications, patent
               rights, patent disclosures and inventions (whether or not patentable or reduced to
               practice); (ii) trademarks (registered and at common law), trademark registrations
               and applications, trade names, logos, trade dress, brand names, service marks
               (registered and at common law), service mark registrations and applications,
               websites, domain names and other indicia of source and all goodwill associated
               therewith; (iii) works of authorship, copyrights, copyright registrations and
               applications for registration, and moral rights; (iv) know-how, trade secrets,
               customer lists (including all wholesale, retail and commercial customer account
               lists, whether active or inactive including complete contact information),
               proprietary information, proprietary processes and formulae, databases and data
               collections; (v) all source and object code, software (including front and back office
               software, customer management and fuel management systems, accounting and
               billing systems, POS inventory systems and fleet management systems),
               algorithms, architecture, structure, display screens, layouts, inventions and
               development tools; and (vi) all documentation and media constituting, describing
               or relating to the above, including, manuals, memoranda and records.

                       (t)   “Knowledge of Seller” or any other similar knowledge qualification
               in this Agreement means the actual knowledge of Christine C. Shubert.

                       (u)     “Law” means any law, statute, regulation, rule, code, decree,
               constitution, ordinance, treaty, rule of common law or Order of, administered or
               enforced by or on behalf of, any Governmental Authority.

                       (v)     “Leased Real Property” means all land, Improvements or other
               interests in real property leased or subleased by Seller, as lessee, which is used or
               intended to be used in, or otherwise related to, the Business and set forth on
               Schedule 1.1(v), unless previously rejected pursuant to section 365 of the
               Bankruptcy Code.

                       (w)      “Liability” means any claim, debt, liability, obligation, Tax or
               commitment of any nature whatsoever (whether known or unknown, asserted or
               unasserted, fixed, absolute or contingent, matured or unmatured, accrued or
               unaccrued, liquidated or unliquidated or due or to become due), whenever or
               however arising (including those arising out of any contract or tort, whether based
               on negligence, strict liability or otherwise), and including all costs and expenses
               related thereto.

                       (x)    “Lien” means, with respect to any property or asset, any mortgage,
               lien (statutory or otherwise), pledge, security interest, Claim, encumbrance,

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               restriction, charge, instrument, preference, priority, option, or right of first refusal,
               of any kind or nature, whether secured or unsecured, choate or inchoate, filed or
               unfiled, scheduled or unscheduled, recorded or unrecorded, contingent or
               noncontingent, material or nonmaterial, known or unknown. For the avoidance of
               doubt, the definition of Lien shall not include any license or sublicense of
               Intellectual Property Rights granted by Seller or any lease or sublease by Seller (as
               lessor or sublessor) of real property.

                       (y)     “Order” means any award, decision, decree, order, directive,
               injunction, ruling, judgment or consent of or entered, issued, made or rendered by
               any Governmental Authority.

                      (z)    “Permits” means licenses, permits, approvals, certificates of
               occupancy, authorizations, operating permits, registrations, plans and other similar
               documents and authorizations issued by any Governmental Authority to Seller, in
               each case to the extent transferable without the consent of any Governmental
               Authority.

                        (aa) “Permitted Encumbrances” means (i) Liens included in the
               Assumed Liabilities; (ii) encumbrances waived in writing by Purchaser; (ii) all
               restrictions on the use of the Purchased Assets arising as a result of the application
               of zoning and similar laws; (iv) all exceptions, restrictions, easements, charges,
               rights-of-way, and other encumbrances that are set forth in any Permit; and
               (v) other imperfections in title, if any, or conditions, reservations, restrictions,
               easements, encroachments, or rights of way, if any, none of which, individually or
               in the aggregate, materially detracts from the value, or impairs in any significant
               way the use of the property subject thereto;

                        (bb) “Person” means an individual, corporation, partnership, limited
               liability Debtors, association, joint venture, trust or other entity or organization,
               including a Governmental Authority.

                       (cc) “Post-Retirement Liabilities” means with respect to all Employees
               and retirees, all Liabilities for the post-retirement benefits, including those provided
               under the Employee Benefit Plans, as applicable.

                      (dd) “Pre-Closing Tax Period” means (i) any Tax period ending on or
               before the Closing Date; and (ii) with respect to a Tax period that commences
               before but ends after the Closing Date, the portion of such period up to and
               including the Closing Date.

                       (ee) “Property Taxes” means all real and personal property Taxes levied
               with respect to the Purchased Assets for any taxable period or portion thereof.

                      (ff)   “Real Estate” means the Acquired Owned Real Property and the
               Leased Real Property.

                       (gg)    “Release” has the meaning set forth in CERCLA.

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                       (hh) “Tax” means (i) any federal, state, provincial, territorial, municipal,
               local or foreign income, profits, franchise, gross receipts, environmental (including
               taxes under Code Section 59A), customs, duties, net worth, sales, use, goods and
               services, withholding, value added, ad valorem, employment, social security,
               disability, occupation, pension, real property, personal property (tangible and
               intangible), stamp, transfer, conveyance, severance, production, excise and other
               taxes, withholdings, duties, levies, imposts and other similar charges and
               assessments (including any and all fines, penalties and additions attributable to or
               otherwise imposed on or with respect to any such taxes, charges, fees, levies or
               other assessments, and interest thereon) imposed by or on behalf of any
               Governmental Authority (a “Taxing Authority”) responsible for the imposition
               thereof (whether domestic or foreign), whether or not disputed, and (ii) Liability
               for the payment of any amounts of the type described in clause (i) as a result of
               being a transferee, party to any agreement or any express or implied obligation to
               indemnify any other Person.

                       (ii)   “Tax Returns” means any report, return, declaration, claim for
               refund, information report or return or statement required to be supplied to a Taxing
               Authority in connection with Taxes, including any schedule or attachment thereto
               or amendment thereof.

                       (jj)   “Trade Payables” means all trade payables incurred by the Debtors
               in the ordinary course of business.

               1.2    Cross References. Each of the following terms is defined in the Section set
       forth opposite such term:

                       Term                                            Section
                       Agreement                                       Preamble
                       Allocation Schedule                             2.7(b)
                       Approval Hearing                                6.3(c)(vi)
                       Approval Order                                  6.3(f)
                       Assignment and Assumption Agreement             2.9(b)
                       Assumed Contracts                               2.1(b)
                       Assumed Contracts A/R                           2.1(d)
                       Assumed Liabilities                             2.4
                       Auction                                         6.3(c)
                       Back-up Bid                                     6.3(c)(vi)
                       Bankruptcy Cases                                Recitals
                       Bankruptcy Code                                 Recitals
                       Bankruptcy Court                                Recitals
                       Bid                                             6.3(b)(i)
                       Bid Assessment Criteria                         6.3(c)(i)
                       Bid Deadline                                    6.3(b)(i)
                       Bidder                                          6.3(b)(i)
                       Bidding Procedures                              6.3(a)
                       Bidding Procedures Order                        6.3(a)

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                        Term                                             Section
                        Business                                         Recitals
                        Closing                                          2.8
                        Contemplated Transaction Documents               6.3(c)(i)
                        Debtors                                          Preamble
                        Deposit                                          2.7(a)
                        End Date                                         9.1(b)
                        Excluded Assets                                  2.2
                        Excluded Liabilities                             2.5
                        Lot Bid                                          6.3(b)(ii)(A)
                        Minimum Initial Overbid                          6.3(b)(ii)(G)
                        Missing Assets                                   2.7(c)
                        Modified APA                                     6.3(b)(ii)(A)
                        Notice Parties                                   6.3(b)(i)
                        Opening Bid                                      6.3(c)(i)
                        Overbid                                          6.3(c)(v)
                        Party or Parties                                 Preamble
                        Petition Date                                    Recitals
                        Purchase Price                                   2.7(a)
                        Purchased Assets                                 2.1
                        Purchaser                                        Preamble
                        Qualified Bid                                    6.3(b)(ii)
                        Qualified Bidder                                 6.3(b)(ii)
                        Reimbursement Demand                             2.7(c)
                        Round Leading Bid                                6.3(c)(v)
                        Sale and Bidding Procedures Motion               6.3(a)
                        Seller                                           Preamble
                        Subsequent Overbid Increment                     6.3(c)(v)(A)
                        Successful Bid                                   6.3(c)(v)
                        Successful Bidder                                6.3(c)(vi)
                        Tax Claim                                        7.1
                        Taxing Authority                                 1.1(gg)
                        Termination Date                                 6.3(b)(ii)(B)
                        Term Sheet                                       2.2(h)
                        Transactions                                     Recitals
                        Transfer Taxes                                   7.2

       2.      Purchase and Sale.

               2.1      Purchase and Sale. Subject to the terms and conditions set forth in this
       Agreement and the Approval Order, at the Closing, Seller shall sell, assign, transfer,
       convey and deliver to Purchaser, and Purchaser shall purchase, acquire and accept from
       Seller, all right, title and interest of Seller as of the Closing Date in and to all of Seller’s
       and Debtors’ properties and assets, real, personal or mixed, tangible and intangible, of
       every kind and description, wherever located and whether or not carried or reflected on the
       books and records of Seller, that are listed in subsections (a) - (l) below, other than the


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       Excluded Assets (the “Purchased Assets”), free and clear of all Liens (other than the
       Assumed Liabilities and Permitted Encumbrances). The cost of collecting and removing
       the Purchased Assets from their various locations shall be borne by Purchaser; provided,
       however, Seller shall, at her cost, use commercially reasonable efforts to assist Seller’s
       efforts by enforcing the terms of this Agreement and the Approval Order against third
       parties. Subject to Section 2.2, the Purchased Assets purchased hereunder shall include the
       following:

                      (a)    the Acquired Owned Real Property set forth on Schedule 2.1(a);
               provided Purchaser may advise Seller of any additions or deletions to
               Schedule 2.1(a) within two (2) Business Days before the Approval Hearing;

                      (b)     all rights of Seller under the executory contracts and unexpired
               leases of Seller that are set forth on Schedule 2.1(b) not previously rejected
               pursuant to section 365 of the Bankruptcy Code (collectively, the “Assumed
               Contracts”); provided Purchaser may advise Seller of any additions or deletions to
               Schedule 2.1(b) within two (2) Business Days before the Approval Hearing;

                       (c)    all inventory, including, without limitation, that set forth on
               Schedule 2.1(c), including, but not limited to, propane, gasoline, kerosene, diesel,
               diesel exhaust fluid, retail and wholesale inventory for sale or distribution of any
               kind except to the extent contained in an Excluded Asset;

                      (d)     any accounts receivable and all proceeds arising therefrom arising
               from and after the Petition Date and out of or in connection with the Assumed
               Contracts (collectively, the “Assumed Contracts A/R”);

                       (e)     all tangible personal property and intangible property whether
               located on Acquired Owned Real Property, Leased Real Property, other real
               property, in transit, or in the possession of any Person, including, but not limited
               to, all machinery, equipment, storage tanks and vessels, pumps, dispensers,
               displays, spare parts, signage, industry memorabilia, tools, vehicles, computers (but
               excluding laptops), mobile phones, personal digital assistants, computer equipment
               (but excluding laptops), hardware, peripherals, information technology
               infrastructure, telephone systems, furniture, fixtures, furnishings, office supplies,
               production supplies, other miscellaneous supplies and other tangible personal
               property of any kind, including, without limitation, that set forth on Schedule
               2.1(e);

                       (f)   all Permits set forth on Schedule 2.1(f) to the extent the same may
               be assigned consistent with their terms;

                      (g)     all Intellectual Property Rights, including, without limitation, the
               items set forth on Schedule 2.1(g); provided that Purchaser may advise Seller of
               any additions or deletions to Schedule 2.1(g) within two (2) Business Days before
               the Approval Hearing;



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                      (h)     all cars, trucks, trailers, forklifts, other industrial vehicles, other
               motor vehicles, and boats and watercrafts whether powered or unpowered,
               including, without limitation, those set forth on Schedule 2.1(h), and any personal
               property located on or within such vehicles, boats and watercrafts;

                      (i)    all deposit or prepaid charges and expenses paid exclusively in
               connection with or relating exclusively to any Purchased Asset;

                        (j)    all books, records, files and papers of Seller relating to the Business
               or the Purchased Assets, including equipment logs, service books and records,
               operating guides and manuals, creative materials, advertising materials,
               promotional materials, studies, reports, correspondence and other similar
               documents and records (all in the state in which such records and information
               currently exist), provided that Seller shall be entitled to access such books, records,
               files, computer systems, and papers with reasonable notice;

                      (k)    all goodwill directly arising from, related to or resulting from the
               Business; and

                       (l)   All Lots of Purchased Assets set forth in Section 6.3(c)(iv)(1) – (18)
               of this Agreement.

               2.2    Excluded Assets. Notwithstanding any other provision of this Agreement
       to the contrary, the following assets (the “Excluded Assets”) shall not be transferred,
       conveyed, sold or assigned to Purchaser, and the Purchased Assets shall not include any of
       the following assets of Debtors or Seller:

                       (a)    all cash, cash equivalents and bank deposits (including, without
               limitation, deposits posted as collateral for letters of credit) or similar cash items;

                      (b)    all deposit or prepaid charges and expenses paid exclusively in
               connection with or relating exclusively to any Excluded Assets;

                    (c)    any accounts receivable and all proceeds of Seller other than the
               Assumed Contracts A/R;

                     (d)     all of the Seller’s rights under this Agreement and/or other
               documents and agreements executed in connection with the Transactions
               contemplated herein;

                       (e)     any and all right, title, leasehold interest, leases and any other
               interest in and with respect to the following property (collectively known as the
               “Wo-Go Stations”): (i) Molly’s Convenience Store and Wo-Go located at 35 Doe
               Run Road, Manheim, PA 17545; (ii) the Ephrata Wo-Go & Pacific Pride, located
               at 1634 W. Main Street, Ephrata, PA 17522; (iii) the Lancaster Wo-Go & Pacific
               Pride, located at 202 Greenfield Road, Lancaster, PA 17602; (iv) the Lititz Wo-Go
               and bulk underground storage facility, located at 746 Rothsville Road, Lititz, PA
               17543; (v) the Harrisburg Wo-Go Station and bulk underground storage facility,

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               located at 854 South 16th Street, Harrisburg, PA 17104; (vi) the Elizabethtown
               Pacific Pride, located at 101 East Cherry Street, Elizabethtown, PA 17022; and
               (vii) the Mount Joy Pacific Pride, located at 30 Orchard Road, Mount Joy, PA
               17552;

                      (f)     all tangible personal property associated with the Wo-Go Stations,
               including, but not limited to, all machinery, equipment, storage tanks and vessels,
               pumps, dispensers, displays, spare parts, signage, industry memorabilia, tools,
               vehicles, computers, mobile phones, personal digital assistants, computer
               equipment, hardware, peripherals, information technology infrastructure, telephone
               systems, furniture, fixtures, furnishings, office supplies, production supplies, other
               miscellaneous supplies and other tangible personal property of any kind, including,
               without limitation, that set forth on Schedule 2.2(f);

                      (g)     all intercompany obligations, liabilities and indebtedness between
               the Debtors including, but not limited to, any and all promissory notes between the
               Debtors, any Affiliates and/or insiders and any note indebtedness owed to Debtors
               by any Affiliates or insiders;

                       (h)     any (i) confidential personnel and medical records pertaining to any
               Employee of the Debtors; (ii) other books and records that Trustee determines are
               necessary or advisable to retain including, without limitation, Tax Returns,
               financial statements, and corporate or other entity filings; provided, however, that
               Purchaser shall have the right to make copies of any portions of such retained books
               and records that relate to the Debtors or any of the Purchased Assets; (iii) minute
               books, stock or membership interest records and corporate seals; and
               (iv) documents relating to proposals to acquire the Purchased Assets by Persons
               other than Purchaser; (v) documents prepared primarily in connection with the
               transactions contemplated by the Term Sheet dated as of July 26, 2018, by and
               between Purchaser and Trustee (the “Term Sheet”);

                       (i)     all Tax losses and Tax loss carry forwards of the Debtors and the
               rights to receive Tax refunds, credits and credit carry forwards with respect to any
               Taxes of the Debtors;

                       (j)     any claim, right or interest of the Seller and the Debtors in or to any
               refund, rebate, abatement or other recovery for Taxes of the Debtors, together with
               any interest due thereon or penalty rebate arising therefrom, and all Tax credits and
               other Tax attributes of the Debtors, for the Pre-Closing Tax Period, but only to the
               extent the Tax in respect of which such refund or reimbursement is made was not
               borne by Purchaser or any of its Affiliates;

                      (k)   all insurance policies or rights to proceeds thereof relating to the
               Purchased Assets;

                       (l)     any stock or other equity interests in Debtors or any subsidiaries or
               Affiliates of the Debtors;


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                       (m)    all claims, actions, liabilities, debts, demands, damages and causes
               of action, whatsoever, whether in law or in equity, whether known or unknown,
               which the Seller and/or the Debtors have, may have had, may have in the future
               accrue to them, arising out of or in connection with, in whole or in part, and relating
               to the Debtors including, any and all claims, actions, liabilities, debts, demands,
               damages and causes of action against any of the Debtors’ subsidiaries, Affiliates,
               predecessors and successors in interest, insiders, members, managers, officers,
               directors, shareholders, investors, employees, representatives, professionals,
               consultants, accountants, servants, attorneys or other agents;

                     (n)    all avoidance actions and other causes of action under the
               Bankruptcy Code or similar state insolvency law;

                       (o)    all assets, fixtures, furniture, machinery, equipment, properties,
               interests and rights of the Seller or the Debtors which were previously sold,
               transferred, conveyed, including, but not limited to, the assets of Debtor Ranck
               Plumbing, Heating & Air Conditioning, Inc., or otherwise abandoned; and

                      (p)     all laptops.

               2.3    “AS IS, WHERE IS” SALE.

                    (a)   EXCEPT FOR THE REPRESENTATIONS AND WARRANTIES
               EXPRESSLY SET FORTH IN SECTION 3 BELOW, THE PURCHASED
               ASSETS ARE BEING SOLD IN AN “AS IS” CONDITION, ON A “WHERE IS”
               BASIS AND “WITH ALL FAULTS” AS OF THE CLOSING DATE (AS
               DEFINED BELOW), AND SUCH SALE IS WITHOUT RECOURSE,
               REPRESENTATION, OR WARRANTY OF ANY KIND TO OR BY THE
               SELLER, WHETHER EXPRESS, IMPLIED OR IMPOSED BY LAW, WHICH
               RECOURSE, REPRESENTATIONS, AND WARRANTIES (EXCEPT FOR THE
               REPRESENTATIONS AND WARRANTIES EXPRESSLY SET FORTH IN
               SECTION 3 BELOW) ARE HEREBY EXPRESSLY DISCLAIMED BY
               PURCHASER.

                    (b)   PURCHASER ACKNOWLEDGES THAT IT IS FULLY
               RELYING ON ITS OWN (OR ITS REPRESENTATIVES’) INSPECTIONS,
               EXAMINATIONS AND EVALUATIONS OF THE REAL ESTATE AND NOT
               UPON ANY STATEMENTS (ORAL OR WRITTEN) THAT MAY HAVE BEEN
               MADE OR MAY BE MADE (OR PURPORTEDLY MADE) BY THE DEBTORS
               OR SELLER OR ANY OF THEIR RESPECTIVE REPRESENTATIVES,
               AGENTS OR ATTORNEYS. PURCHASER ACKNOWLEDGES THAT
               PURCHASER HAS (OR PURCHASER’S REPRESENTATIVES HAVE), OR
               PRIOR TO THE CLOSING DATE WILL HAVE, THOROUGHLY INSPECTED
               AND EXAMINED THE REAL ESTATE TO THE EXTENT DEEMED
               NECESSARY BY PURCHASER IN ORDER TO ENABLE PURCHASER TO
               EVALUATE THE CONDITION OF THE REAL ESTATE AND ALL OTHER
               ASPECTS OF THE REAL ESTATE (INCLUDING, BUT NOT LIMITED TO,

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               THE ENVIRONMENTAL CONDITION OF THE REAL ESTATE), AND
               PURCHASER ACKNOWLEDGES THAT PURCHASER IS RELYING
               SOLELY UPON ITS OWN (OR ITS REPRESENTATIVES’) INSPECTION,
               EXAMINATION AND EVALUATION OF THE REAL ESTATE AND IS
               QUALIFIED TO MAKE SUCH INSPECTION, EXAMINATION AND
               EVALUATION. AS A MATERIAL PART OF THE CONSIDERATION OF
               THIS AGREEMENT AND THE PURCHASE OF THE ACQUIRED OWNED
               REAL PROPERTY, PURCHASER HEREBY AGREES TO ACCEPT THE
               ACQUIRED OWNED REAL PROPERTY ON THE CLOSING DATE IN ITS
               “AS IS, WHERE IS” CONDITION, WITH ALL FAULTS AND, WITHOUT
               REPRESENTATIONS AND WARRANTIES OF ANY KIND, EXPRESS OR
               IMPLIED, OR ARISING BY OPERATION OF LAW, WITHOUT IN ANY WAY
               LIMITING THE GENERALITY OF THE FOREGOING, THE PARTIES AGREE
               THAT THE SALE OF THE ACQUIRED OWNED REAL PROPERTY IS
               WITHOUT ANY WARRANTY, AND THAT THE SELLER AND DEBTORS
               HAVE NOT MADE ANY, AND EXPRESSLY AND SPECIFICALLY
               DISCLAIM ANY AND ALL, REPRESENTATIONS, GUARANTIES OR
               WARRANTIES, EXPRESS OR IMPLIED, OR ARISING BY OPERATION OF
               LAW OR RELATING TO THE ACQUIRED OWNED REAL PROPERTY,
               INCLUDING, WITHOUT LIMITATION, OF OR RELATING TO: (A) THE
               OWNERSHIP, USE, INCOME, POTENTIAL, EXPENSES, OPERATION,
               CHARACTERISTICS OR CONDITION OF THE ACQUIRED OWNED REAL
               PROPERTY OR ANY PORTION THEREOF, INCLUDING, WITHOUT
               LIMITATION, WARRANTIES OF SUITABILITY, HABITABILITY,
               MERCHANTABILITY, DESIGN OR FITNESS FOR ANY SPECIFIC PURPOSE
               OR A PARTICULAR PURPOSE; (B) THE NATURE, MANNER, OR
               CONDITION (PHYSICAL, STRUCTURAL OR OTHERWISE) OF THE
               ACQUIRED OWNED REAL PROPERTY, OR THE SURFACE OR
               SUBSURFACE THEREOF, WHETHER OR NOT OBVIOUS, VISIBLE OR
               APPARENT; (C) THE ENVIRONMENTAL CONDITION OF THE ACQUIRED
               OWNED REAL PROPERTY AND THE PRESENCE OR ABSENCE OF OR
               CONTAMINATION BY HAZARDOUS MATERIALS, OR THE COMPLIANCE
               OF THE ACQUIRED OWNED REAL PROPERTY WITH ALL REGULATIONS
               OR LAWS PERTAINING TO HEALTH OR THE ENVIRONMENT,
               INCLUDING, BUT NOT LIMITED TO, ENVIRONMENTAL LAWS; AND (D)
               THE SOIL CONDITIONS, DRAINAGE, FLOODING CHARACTERISTICS,
               UTILITIES OR OTHER CONDITIONS EXISTING IN, ON OR UNDER THE
               ACQUIRED OWNED REAL PROPERTY. THE PROVISIONS OF THIS
               PARAGRAPH SHALL SURVIVE THE CLOSING OR EARLIER
               TERMINATION OF THIS AGREEMENT.

               2.4     Assumed Liabilities. Upon the terms and subject to the conditions of this
       Agreement, Purchaser agrees, effective at the time of the Closing, to assume, pay, perform
       and discharge, promptly when payment or performance is due or required, the liabilities
       and obligations of Seller or the Business related to or arising under all (i) Purchased Assets,
       including, without limitation, the Assumed Contracts, Permits, and Intellectual Property
       Rights, that accrue after the Closing, (ii) liabilities related to the Permitted Encumbrances,

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       (iii) one half of the Transfer Taxes, and (iv) any and all liabilities for Taxes, if any,
       attributable to Purchaser’s ownership of the Purchased Assets after the Closing Date
       (collectively, the “Assumed Liabilities”) in each case, but in no event to include any
       Liabilities or obligations of any Debtor or its Affiliates that relate to any breach of
       representation, warranty, covenant or agreement that arose on or prior to the Closing Date.

               2.5     Excluded Liabilities. Notwithstanding any other provision of this
       Agreement to the contrary, Purchaser is assuming only the Assumed Liabilities and is not
       assuming any other Claim against or obligation of Seller or Debtors of whatever nature,
       whether presently in existence or arising hereafter. All such other Claims and obligations,
       whether known or unknown, direct or contingent, in litigation or threatened, or not yet
       asserted, shall be retained by and remain obligations and Liabilities of Seller or Debtors
       (all such Liabilities and obligations not being assumed being herein referred to as the
       “Excluded Liabilities”). Without limiting the generality of the foregoing, the Excluded
       Liabilities shall include the following:

                      (a)     all Liabilities related to any Excluded Assets;

                      (b)     Trade Payables;

                       (c)    all Liabilities for (i) Taxes of Seller and (ii) any Taxes relating to or
               arising from the Business or one or more Purchased Assets for any Pre-Closing Tax
               Periods, provided that this shall exclude Transfer Taxes, which are addressed in
               Section 7.2;

                      (d)     all Post-Retirement Liabilities;

                      (e)     all Employee Benefit Plans and all Liabilities thereunder; and

                      (f)     any Liability based on successor liability theories, including,
               without limitation, product liability claims.

               2.6    Assumption/Assignment of Contracts and Rights.

                       (a)    To the maximum extent permitted by the Bankruptcy Code, the
               Assumed Contracts shall be assumed by Seller and assigned to Purchaser at the
               Closing pursuant to Section 365 of the Bankruptcy Code. If such assignment is not
               effectuated pursuant to the Approval Order, Seller shall, at the request of Purchaser,
               seek an Order from the Bankruptcy Court after the Closing Date to assign such
               Assumed Contract to Purchaser. All Cure Costs relating to the Assumed Contracts
               shall be paid by Seller.

                       (b)     Notwithstanding anything in this Agreement to the contrary, this
               Agreement shall not constitute an agreement to assign any Assumed Contract that,
               after giving effect to the provisions of Section 365 of the Bankruptcy Code, is not
               assignable or transferable without the consent of any Person, other than the Debtors,
               Seller and Purchaser, to the extent that such consent shall not have been given prior
               to the Closing, provided, however, that the Seller and Debtors shall use, whether

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               before or after the Closing, reasonable efforts to obtain all necessary consents to
               the assignment and transfer thereof.

               2.7    Consideration; Allocation of Consideration.

                       (a)    In addition to the assumption of the Assumed Liabilities, the
               aggregate consideration (the “Purchase Price”) for the sale, transfer and delivery of
               the Purchased Assets, at the Closing, shall be Eight Million One Hundred Thousand
               Dollars ($8,100,000) payable as follows: (i) Eight Hundred Ten Thousand Dollars
               ($810,000) (the “Deposit”) payable upon the execution of this Agreement and
               (ii) Seven Million Two Hundred Ninety Thousand Dollars ($7,290,000) payable at
               the Closing.

                       (b)     Purchaser and Seller agree that the Purchase Price, applicable
               Assumed Liabilities and other relevant items shall be allocated in accordance with
               the allocation schedule (the “Allocation Schedule”) to be mutually determined by
               Purchaser and Seller on or before the Closing. Purchaser and Seller shall (and shall
               cause their respective Affiliates to) file all Tax Returns (including IRS Form 8954)
               and other Tax-related information reports in a manner consistent with the
               Allocation Schedule and not take any position inconsistent with such Allocation
               Schedule in any Tax-related audit, examination or other proceeding (whether
               administrative or judicial) unless required by applicable Law. If any Party receives
               any notice from a Taxing Authority in respect of an audit, examination or other
               proceeding (whether administrative or judicial) regarding any allocation of the
               Purchase Price or otherwise proposing an allocation different from the Allocation
               Schedule, such Party shall notify the other Parties of such notice and provide such
               other Parties with a copy of such notice, and the Parties hereto shall cooperate with
               each other in good faith regarding the resolution of any such matter.

                       (c)    Following the Approval Hearing and up to Closing, Purchaser shall
               inspect the Purchased Assets to confirm that they are present and accounted for. If
               Purchaser determines that there are vehicles or fuel inventory that are listed on
               Schedule 2.1(h) and Schedule 2.1(c), respectively, but are missing (“Missing
               Assets”) with an aggregate value determined in good faith that exceeds Thirty
               Thousand Dollars ($30,000), Purchaser may make a written demand on Seller for
               reimbursement and credit against the Purchase Price for the aggregate value of such
               Missing Assets that exceeds Thirty Thousand Dollars ($30,000), and further
               describing such Missing Assets in reasonable detail and the expected location or
               quantity (a “Reimbursement Demand”). Upon receipt of a Reimbursement
               Demand, Seller shall have up to Closing to investigate the Missing Assets. If Seller
               agrees with the Reimbursement Demand, or fails to oppose the Reimbursement
               Demand (as described in the following sentence), such reimbursement for the
               amount that exceeds Thirty Thousand Dollars ($30,000) shall be made as a credit
               against the Purchase Price at Closing. If Seller opposes the Reimbursement
               Demand, it shall notify Purchaser in writing prior to Closing, and describe its
               opposition in reasonable detail. If Purchaser and Seller are unable to resolve
               Seller’s opposition to the Reimbursement Demand, either party may submit its

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               claim to the Bankruptcy Court for disposition as its sole means of recourse. If Seller
               has vehicles or fuel inventory wherever located that are not listed on Schedule
               2.1(h) and Schedule 2.1(c), respectively (the “Additional Assets”) with an
               aggregate value determined in good faith that exceeds Thirty Thousand Dollars
               ($30,000), the Purchase Price shall be increased by the aggregate value of such
               Additional Assets that exceeds Thirty Thousand Dollars ($30,000).

               2.8     Closing. The closing (the “Closing”) of the purchase and sale of the
       Purchased Assets and the assumption of the Assumed Liabilities shall take place at the
       offices of Fox Rothschild LLP, 2000 Market Street, 20th Floor, Philadelphia, PA 19103-
       3222 on the date of the Approval Order, or at such other time or place as Purchaser and
       Seller may agree. The Parties may mutually agree to consummate the Closing
       electronically.

               2.9    Deliveries by Seller. At the Closing, Seller will deliver or cause to be
       delivered to Purchaser (unless delivered previously) the following:

                      (a)     the Approval Order;

                      (b)    a Bill of Sale, Assignment and Assumption Agreement substantially
               in the form attached hereto as Exhibit A (the “Assignment and Assumption
               Agreement”), duly executed by Seller;

                       (c)     duly executed quitclaim deeds transferring fee simple title to the
               Acquired Owned Real Property to Purchaser, in form and substance reasonably
               satisfactory to Purchaser;

                      (d)     originals (or, to the extent originals are not available, copies) of all
               Assumed Contracts (together with all material amendments, supplements or
               modifications thereto);

                      (e)     physical possession of all of the Purchased Assets capable of passing
               by delivery, with the intent that title in such Purchased Assets shall pass by and
               upon delivery;

                       (f)     a duly executed assignment agreement or agreements transferring
               the Intellectual Property Rights to Purchaser, in form and substance reasonably
               satisfactory to Purchaser;

                       (g)     an affidavit from Seller, sworn under penalty of perjury and dated
               as of the Closing Date, in form and substance satisfactory to Purchaser, issued
               pursuant to Section 1445 of the Code and the Treasury regulations thereunder
               stating that Seller is not a foreign person as defined in Section 1445 of the Code;

                      (h)     certificates of title and title transfer documents to all titled motor
               vehicles included within the Purchased Assets; and



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                      (i)    all other documents, instruments and writings reasonably requested
               by Purchaser to be delivered by Seller at or prior to the Closing pursuant to this
               Agreement, in each case in form and substance reasonably acceptable to Seller.

               2.10 Deliveries by Purchaser. At the Closing, Purchaser will deliver or cause to
       be delivered to Seller (unless previously delivered) the following:

                      (a)     any unpaid portion of the Purchase Price;

                      (b)     the Assignment and Assumption Agreement, duly executed by
               Purchaser; and

                      (c)     all other documents, instruments and writings reasonably requested
               by Seller to be delivered by Purchaser at or prior to the Closing pursuant to this
               Agreement.

        3.      Representations and Warranties of Seller. Subject to the terms, conditions and
limitations set forth in this Agreement, Seller hereby represents and warrants to Purchaser as of
the date of this Agreement as follows:

              3.1    Power. Subject to the entry of an Approval Order (as defined below) by the
       Bankruptcy Court, Seller has full legal capacity, right, power and authority to enter into
       this Agreement.

               3.2     Authorization. The execution, delivery and performance by Seller of this
       Agreement and the consummation of the Transactions are within Seller’s powers and have
       been duly authorized by all necessary actions on the part of Seller. Subject to entry by the
       Bankruptcy Court of the Bidding Procedures Order and the Approval Order in the
       Bankruptcy Cases, this Agreement constitutes a valid and binding agreement of Seller that
       is enforceable in accordance with its terms.

               3.3     Governmental Authorization. The execution, delivery and performance by
       Seller of this Agreement and the consummation of the Transactions by Seller require no
       action by or in respect of, or filing with, any Governmental Authority other than consents,
       approvals or authorizations of, or declarations or filings with, the Bankruptcy Court.

              3.4      Non-contravention. Subject to entry by the Bankruptcy Court of the
       Bidding Procedures Order and the Approval Order in the Bankruptcy Cases, the execution,
       delivery and performance by Seller of this Agreement and the consummation of the
       Transactions do not and will not, to the Knowledge of Seller (a) assuming compliance with
       the matters referred to in Section 3.3, violate any applicable Law or (b) result in the creation
       or imposition of any Lien on any Purchased Asset, except for Assumed Liabilities,
       Permitted Encumbrance, or Liens that will be released at or prior to Closing.

               3.5     Required Consents. Except as disclosed on Schedule 3.5 (which may be
       modified prior to the Closing Date), and except for consents, approvals or authorizations
       of, or declarations or filings with, the Bankruptcy Court, to the Knowledge of Seller, there


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       is no agreement or other instrument binding upon Seller requiring a consent or other action
       by any Person as a result of the execution, delivery and performance of this Agreement.

                3.6    Litigation. Except as disclosed on Schedule 3.6 and except for the
       Bankruptcy Cases, as of the date hereof, there is no action, suit, investigation or legal or
       administrative proceeding pending or, to the Knowledge of Seller, threatened against or
       affecting, the Purchased Assets (by any Governmental Authority or Person), including real
       estate tax assessment appeals, which in any manner challenges or seeks to prevent, enjoin,
       alter or materially delay the Transactions.

               3.7     Permits. Schedule 2.1(f) sets forth a list of all Permits required to conduct
       and operate the Business in a manner consistent with the pre-Petition Date practices of the
       Debtors. Except as set forth on Schedule 3.7, to the Knowledge of the Seller, no written
       notice of violation of any Permit has been received from any Governmental Authority, and
       no proceeding is pending seeking to revoke or limit any such Permit.

              3.8    Compliance with Laws and Court Orders. Seller is not in material violation
       of any Law applicable to the Purchased Assets or the conduct of the Business.

              3.9     Intellectual Property Rights.         To the Knowledge of Seller,
       (a) Schedule 2.1(g) sets forth an accurate and complete list of all registered Intellectual
       Property Rights included in the Purchased Assets, and (b) there are no outstanding
       challenges to the ownership and use by Seller of the Intellectual Property Rights, nor any
       alleged infringements of such Intellectual Property Rights by third parties. To the
       Knowledge of Seller, none of the Intellectual Property Rights included in the Purchased
       Assets has been licensed by Seller to any other Person.

              3.10 Environmental Matters. To the Knowledge of Seller, and other than as
       described on Schedule 3.10: (a) neither the Seller nor the Debtors have received any notice
       from any Governmental Authority or third party of any violation of or failure to comply
       with any Environmental Laws with respect to the Acquired Owned Real Property which
       remains uncorrected, or of any obligation to undertake or bear the cost of any remediation
       with respect to the Acquired Owned Real Property which remains unperformed, and
       (b) the Acquired Owned Real Property is in compliance, in all respects, with applicable
       Environmental Laws.

                3.11 Real Property. Schedule 2.1(a) sets forth the address and description of all
       Acquired Owned Real Property. With respect to each parcel of Acquired Owned Real
       Property, to the Knowledge of Seller and except as set forth on Schedule 2.1(a), (a) there
       are no leases, subleases, licenses, concessions, or other agreements, written or oral,
       granting to any Person the right of use or occupancy of any portion of such Acquired
       Owned Real Property; (b) there are no outstanding options, rights of first offer or rights of
       first refusal to purchase such Acquired Owned Real Property (other than the right of
       Purchaser pursuant to this Agreement), or any portion thereof or interest therein; and
       (c) there are no condemnation or eminent domain proceedings pending or threatened with
       respect to all or any part of the Acquired Owned Real Property.



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               3.12 Employment Matters and Employee Benefits. To the Knowledge of Seller,
       (a) Schedule 3.12 sets forth a complete and accurate list of Seller’s Employee Benefit
       Plans; (b) with respect to each Employee Benefit Plan, all payments, premiums,
       contributions, distributions, reimbursements or accruals for all periods (or partial periods)
       ending prior to or as of the Closing Date have been timely made in accordance with the
       terms of the applicable Employee Benefit Plan and applicable Law; (c) there are no pending
       audits or investigations by any Governmental Authority involving any Employee Benefit
       Plan, and there are no pending or threatened claims (except for individual claims for
       benefits payable in the normal operation of the Employee Benefit Plans), suits or
       proceedings involving any Employee Benefit Plan, any trust or other funding medium
       thereof, fiduciary thereof or service provider thereto, nor is there any reasonable basis for
       any such claim, suit or proceeding; and (d) the Debtors have performed all material
       obligations required to be performed by them and are not in any material respect in default
       under or in violation of any Employee Benefit Plan, nor has there been any such material
       default or violation by any other party to any Employee Benefit Plan.

              3.13 Taxes. To the Knowledge of Seller, all Tax Returns (including any IRS
       Forms W-2 or Forms 1099) required to be filed by or on behalf of the Debtors (or any
       predecessor of the Debtors) and all Tax Returns required to be filed in respect of any
       Purchased Asset have been timely filed; provided, however, Seller makes no
       representations regarding the accuracy of such Tax Returns.

               3.14 Sufficiency of and Title to the Purchased Assets. Seller will have at Closing
       good and marketable title to, or a valid leasehold interest in (or license or other right to
       use), all the Purchased Assets.

               3.15 Insurance. As of the date hereof, to the Knowledge of Seller, all material
       property and liability insurance policies set forth on Schedule 3.15 are in full force and
       effect, and no written notice of cancellation, termination or revocation or other written
       notice that any such insurance policy is no longer in full force or effect or that the issuer of
       any such insurance policy is not willing or able to perform its obligations thereunder has
       been received by Seller. All premiums due and payable on such insurance policies have
       been paid in full.

              3.16 Service of Bankruptcy Documents. Seller shall appropriately and timely
       serve all parties in interest with copies of the Sale and Bidding Procedures Motion and
       applicable notices as may be required by the Federal Rules of Bankruptcy Procedure and
       Local Rules of the Bankruptcy Court.

               3.17 Certain Fees. No agent, broker, investment banker or other person or firm
       acting on behalf of Seller or the Debtors, or under her or their authority is or will be entitled
       to any broker’s or finder’s fee or any other commission or similar fee or the reimbursement
       of expenses, directly or indirectly, from Seller in connection with this Agreement or the
       Transactions.

       Except as specifically set forth in this Section 3, Seller does not make any representations
or warranties of any kind to Purchaser.

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       4.      Representations and Warranties of Purchaser.              Purchaser represents and
warrants to Seller as follows:

               4.1    Organization. Purchaser is a Delaware limited liability company duly
       organized, validly existing and in good standing and has all requisite authority to carry on
       its business.

               4.2     Corporate Authorization. The execution, delivery and performance by
       Purchaser of this Agreement and the consummation of the Transactions are within the
       requisite power and authority of Purchaser and have been duly authorized by all necessary
       actions on the part of Purchaser. This Agreement constitutes a valid and binding agreement
       of Purchaser that is enforceable in accordance with its terms.

               4.3     Governmental Authorization. The execution, delivery and performance by
       Purchaser of this Agreement and the consummation of the Transactions by Purchaser
       require no action by or in respect of, or filing with, any Governmental Authority other than
       (a) consents, approvals or authorizations of, or declarations or filings with, the Bankruptcy
       Court, and (b) any such action or filing as to which the failure to make or obtain would not
       have a material effect on Purchaser or its ability to close the Transactions.

               4.4     Non-contravention. Neither the execution and delivery of this Agreement
       nor the consummation of the Transactions will (a) conflict with or result in any breach of
       any provision of organizational documents of Purchaser; (b) require any filing with, or the
       obtaining of any Permit, authorization, consent or approval of, any Governmental
       Authority; (c) violate, conflict with or result in a default (or any event which, with notice
       or lapse of time or both, would constitute a default) under, or give rise to any right of
       termination, cancellation or acceleration under, any of the terms, conditions or provisions
       of any note, mortgage, other evidence of indebtedness, guarantee, license, agreement, lease
       or other contract, instrument or obligation to which Purchaser is a party or by which
       Purchaser or any of its assets may be bound; or (d) violate any Law applicable to Purchaser,
       excluding from the foregoing clauses (b), (c) and (d) such requirements, violations,
       conflicts, defaults or rights (i) which would not adversely affect the ability of Purchaser to
       consummate the Transactions, or (ii) which become applicable as a result of any acts or
       omissions by, or the status of or any facts pertaining to, Seller.

                4.5     Litigation. There is no action, suit, investigation or proceeding pending
       against or, to the knowledge of Purchaser, threatened against or affecting Purchaser before
       any Governmental Authority which in any manner challenges or seeks to prevent, enjoin,
       alter or materially delay the Transactions.

               4.6      Adequacy of Funds. Purchaser has and at the time of Closing will have
       available to it on an unconditional basis cash proceeds in an amount sufficient to satisfy its
       monetary and other obligations under this Agreement, including, without limitation, the
       obligation to pay the Purchase Price in accordance herewith.




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       5.      Covenants of Seller. Seller agrees that:

              5.1     Access to Information. From the date hereof until the earlier of the
       termination of this Agreement pursuant to Section 9.1 or the Closing Date, Seller shall
       reasonably afford to Purchaser and its counsel, accountants and other representatives,
       access (at reasonable times during normal business hours) to and all properties, books,
       accounts, records and documents of, or relating to, the Business.

              5.2    Sales of De Minimis Assets. From the execution of the Term Sheet through
       the Closing Date, Seller shall cease all asset sales, including de minimis asset sales, through
       the Bankruptcy Court or otherwise.

               5.3    Notices of Certain Events. Seller shall promptly notify Purchaser of:

                       (a)   any notice or other written communication from any Person alleging
               that the consent of such Person is or may be required in connection with the
               consummation of the Transactions;

                      (b)     any material written communication from any Governmental
               Authority in connection with or relating to the Transactions; and

                        (c)    the commencement of any actions, suits, investigations or
               proceedings relating to Seller, the Debtors, any Purchased Asset or the Business
               that, if pending on the date of this Agreement, would have resulted in a breach of
               any representation contained in Section 3.

       6.      Covenants of Purchaser and Seller. Purchaser and Seller agree that:

               6.1     Efforts; Further Assurances. Subject to the terms and conditions of this
       Agreement, Purchaser and Seller will use their respective commercially reasonable efforts
       to take, or cause to be taken, all actions and to do, or cause to be done, all things necessary
       under applicable Laws to consummate the Transactions contemplated by this Agreement.
       Seller and Purchaser agree to execute and deliver such other documents, certificates,
       agreements and other writings and to take such other actions as may be necessary in order
       to vest in Purchaser good title to the Purchased Assets or to evidence the assumption by
       Purchaser of the Assumed Liabilities.

               6.2    Certain Filings. Seller and Purchaser shall cooperate with one another in
       good faith (a) in determining whether any action by or in respect of, or filing with, any
       Governmental Authority is required, or any actions, consents, approvals or waivers are
       required to be obtained from parties to any Assumed Contracts or Intellectual Property
       Rights, in connection with the consummation of the Transactions, and (b) in taking such
       actions or making any such filings, furnishing information required in connection therewith
       and seeking to timely obtain any such actions, consents, approvals or waivers.




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               6.3    Bankruptcy Issues.

                       (a)    Filing of Sale and Bidding Procedures Motion. Within three (3)
               Business Days of the date of this Agreement, Seller shall file with the Bankruptcy
               Court a motion (the “Sale and Bidding Procedures Motion”) seeking, among other
               things, the entry of (i) the Approval Order, and (ii) an Order (the “Bidding
               Procedures Order”) approving the bidding and auction procedures set forth in
               Sections 6.3(b) and (c) (the “Bidding Procedures”).

                      (b)    Bidding Procedures. In the Sale and Bidding Procedures Motion,
               Seller shall seek, among other things, approval of the following Bidding
               Procedures, which shall be incorporated into the Bidding Procedures Order:

                              (i)     Bidding Deadline. Any third party (other than Purchaser) (a
                      “Bidder”) must submit a bid (the “Bid”) in accordance with the terms of the
                      Bidding Procedures so that the Bid is actually received by each of the Notice
                      Parties no later than 10:00 a.m. (prevailing Eastern time) on September 13,
                      2018 (the “Bid Deadline”). Written copies of all Bids shall be delivered by
                      the Bid Deadline to: (A) counsel to Seller, Fox Rothschild LLP, 2000
                      Market Street, 20th Floor, Philadelphia, PA 19103-3222, Attn: Michael
                      Menkowitz, Esq., mmenkowitz@foxrothschild.com; (B) counsel to the
                      Purchaser, Vedder Price P.C., 222 N. LaSalle Street, Chicago, IL 60601,
                      Attn: Michael M. Eidelman, Esq., meidelman@vedderprice.com; and
                      (C) counsel to Fulton Bank, N.A., Reed Smith LLP, 3 Logan Square, Suite
                      3100, 1717 Arch Street, Philadelphia, PA 19103, Attn: Brian M. Schenker;
                      (D) (collectively, the “Notice Parties”). A Bid received after the Bid
                      Deadline shall not constitute a Qualified Bid. A Bid shall be delivered to
                      all Notice Parties at the same time. Seller shall deliver to the Notice Parties,
                      at least forty-eight (48) hours prior to the Auction, written confirmation
                      from the Seller that she has a good faith basis to believe the Bidder has a
                      sufficient commitment for financing pursuant to Section 6.3(b)(ii)(D)
                      hereof. Interested Bidders requesting information about the qualification
                      process, including a copy of this Agreement, and information in connection
                      with their due diligence, should contact Seller’s counsel at the above
                      address.

                             (ii)   Designation as Qualified Bidder. To participate in the
                      Auction, a Bidder must submit a Bid that is determined by Seller to satisfy
                      each of the following conditions (a “Qualified Bid” and the entity
                      submitting such Qualified Bid, a “Qualified Bidder”):

                                     (A)    Written Submission of Modified APA and
                      Commitment to Close. Bidders must submit a Bid by the Bid Deadline in
                      the form of an executed mark-up of this Agreement (each a “Modified
                      APA”) reflecting such Bidder’s proposed changes to this Agreement
                      (together with a blackline of the Modified APA against this Agreement),
                      and a written and binding commitment to close on the terms and conditions

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                      set forth therein. Seller may discuss the Modified APA of any Bidder after
                      submission with such Bidder including, for clarification, the terms and
                      conditions of the Modified APA. Each Modified APA shall (I) have
                      substantially similar terms and conditions (provided that no Bid other than
                      this Agreement may provide for payment of any break-up fee, expense
                      reimbursement, or similar type of payment) as this Agreement except with
                      higher and better consideration; and (II) contain terms and conditions in the
                      aggregate no less favorable to the Debtors’ estates than the terms and
                      conditions in this Agreement; provided, however, the Seller shall have the
                      sole discretion to sell the Debtors’ assets in the lots described in Section
                      6.3(c)(iv) (each, a “Lot Bid”) in accordance with the Bidding Procedures
                      Order and the Bidding Procedures. In order for a Modified APA to be
                      deemed a Qualified Bid, it must provide for the acquisition of all of the
                      Purchased Assets or contain a Lot Bid;

                                   (B)     Irrevocable. A Bid must be irrevocable until four (4)
                      Business Days after entry of the approval order, 2018 (the “Termination
                      Date”);

                                     (C)     Contingencies. A Bid may not be conditioned on
                      obtaining financing or any internal approval or on the outcome or review of
                      due diligence. Any other contingencies associated with a Bid may not, in
                      the aggregate, be materially more burdensome than those set forth in this
                      Agreement;

                                     (D)     Financing Sources and Evidence of Financial Ability
                      to Close. A Bid must identify the actual Bidder and owners and ultimate
                      parent company of the Bidder and contain written evidence of a
                      commitment for financing or other evidence of the ability to fund and
                      consummate the Sale on or before a closing date satisfactory to Seller with
                      appropriate contact information for such financing or funding sources;

                                     (E)     No Fees Payable to Bidder. A Bid may not request,
                      be conditioned on or otherwise entitle the Bidder (other than Purchaser) to
                      any break-up fee, expense reimbursement or similar type of payment. A
                      Bidder shall be deemed to waive the right to pursue a substantial
                      contribution claim under 11 U.S.C. § 503 related in any way to the
                      submission of its bid or the Bidding Procedures;

                                     (F)      Good-Faith Deposit. Each Bid must be accompanied
                      by a cash deposit in an amount equal to ten (10%) percent in cash of the
                      cash and the value of the non-cash purchase price allocated to the Purchased
                      Assets under the Modified APA, which shall be paid to Seller to be held in
                      an escrow account established at United Bank, ABA Number 211170318;
                      Account No. 710000007408; Name: Worley & Obetz, Inc.; Reference –
                      Christine C. Shubert, Trustee in accordance with the Bidding Procedures;


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                                     (G)     Minimum Initial Overbid.             The aggregate
                      consideration in a Bid must have (I) a cash purchase price for the Purchased
                      Assets of the amount payable for the Purchased Assets under this
                      Agreement, being Eight Million One Hundred Thousand Dollars
                      ($8,100,000), plus (II) the amount of the Bid Protection, plus (III) the
                      amount of the Break-Up Fee (the “Minimum Initial Overbid”);

                                      (H)    List of Executory Contracts and Unexpired Leases.
                      Each Bid must be accompanied by a list of Debtors’ executory and
                      unexpired leases that the Bidder desires to assume and a packet of
                      information, including financial information, that will be provided to the
                      non-Debtor parties to such executory contracts and unexpired leases
                      sufficient to demonstrate adequate assurance of future performance; and

                                      (I)      Fulton Bank. Notwithstanding anything set forth
                      hereunder, Fulton Bank, N.A. shall automatically be deemed to be a
                      Qualified Bidder hereunder without taking any actions otherwise required
                      to be taken under this Section 6.3, shall have consultation rights throughout
                      the Bid process, shall have the right to attend and participate at the Auction
                      without having submitted a Qualified Bid, and shall be a third-party
                      beneficiary to the Bid procedure in the same way as Purchaser.
                      Notwithstanding anything set forth hereunder, nothing herein shall alter or
                      modify the rights of Fulton Bank, N.A. under section 363(k) of the
                      Bankruptcy Code; provided, however, (i) Fulton Bank N.A. shall not
                      exercise its credit bid rights to make the Minimum Initial Overbid; and (ii)
                      any credit bid by Fulton Bank shall contain a stipulation and agreement with
                      Seller providing for the consensual use of cash collateral by Seller to pay
                      the Break-Up Fee to Purchaser and Fulton Bank shall enter into a stipulation
                      and agreement with Seller that Fulton Bank shall pay all amounts due under
                      the First Amended Stipulation and Order.

                              (iii) Due Diligence from Bidders. Each Qualified Bidder shall
                      comply with all reasonable requests for additional information by Seller
                      regarding such Bidder and its contemplated transaction. Failure by a Bidder
                      to comply with requests for additional information will be a basis for Seller
                      to determine that the Bidder is not a Qualified Bidder. Seller acknowledges
                      that Purchaser is a Qualified Bidder and that this Agreement constitutes a
                      Qualified Bid.

                       (c)    Auction. The Seller shall conduct an auction sale of the Purchased
               Assets to determine the highest and/or best Bid with respect to the Purchased Assets
               (the “Auction”) only if she receives, prior to the Bid Deadline, (1) a Qualified Bid
               (other than this Agreement) for the entirety of the Purchased Assets or (2) a
               combination of Lot Bids (each of which must be a Qualified Bid) providing for, in
               the aggregate, a Purchase Price that exceeds the Minimum Initial Overbid. The
               Auction shall commence on September 17, 2018, at 9:00 a.m. (Eastern Standard
               Time) at the offices of Fox Rothschild LLP, 2000 Market Street, 20th Floor,

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               Philadelphia, PA 19103. If no such Qualified Bid(s) is/are received by the Bid
               Deadline, then the Auction shall not take place, Purchaser shall be declared the
               Successful Bidder, and Seller shall seek approval of, and authority to consummate,
               this Agreement and the Transactions at the Approval Hearing. If a Qualified Bid(s)
               is/are received in accordance with these Bidding Procedures, the Auction shall be
               conducted according to the following procedures:

                              (i)     Participation at the Auction. Only a Qualified Bidder that
                      has submitted a Qualified Bid is eligible to participate at the Auction. For
                      greater certainty, Purchaser is a Qualified Bidder and eligible to participate
                      at the Auction. Only the authorized representatives (including counsel and
                      other advisors) of each of the Purchaser, Qualified Bidders and Seller and
                      any other party in interest or its representative who provide Seller with
                      written notice forty-eight (48) hours prior to the Auction shall be permitted
                      to attend the Auction. During the Auction, the bidding shall begin with the
                      highest Qualified Bid (the “Opening Bid”) and each subsequent round of
                      bidding shall continue in minimum increments of at least the Subsequent
                      Overbid Increment. At least one (1) Business Day prior to the start of the
                      Auction, Seller shall provide a copy of the Opening Bid to all participating
                      Qualified Bidders attending the Auction and a blackline of the Opening Bid
                      to this Agreement. Seller shall select the Opening Bid, in her discretion.
                      The determination of which Qualified Bid constitutes the Opening Bid shall
                      take into account any factors Seller reasonably deems relevant to the value
                      of the Qualified Bid to Seller including, among other things, the following:
                      (A) the amount and nature of the consideration; (B) the proposed
                      assumption of liabilities, if any; (C) the ability of the Qualified Bidder to
                      close the proposed transaction; (D) the proposed closing date and the
                      likelihood, extent and impact of any potential delays in closing; (E) any
                      purchase price adjustments; (F) the impact of the contemplated transaction
                      on any actual or potential litigation; (G) the net economic effect of any
                      changes from this Agreement, if any, contemplated by the contemplated
                      transaction documents (the “Contemplated Transaction Documents”);
                      (H) the net after-Tax consideration to be received by Seller; (I) the net
                      amounts to be paid to the Debtors’ estates, taking into account, among other
                      things, payment of the Break-Up Fee and Cure Costs; and (J) such other
                      considerations as Seller deems relevant in her reasonable business judgment
                      (collectively, the “Bid Assessment Criteria”).

                              (ii)   Authority to Bid. All representatives of Qualified Bidders
                      who submit any bids at the Auction shall represent on the record that they
                      have authority to bid and that the Bid they submit is binding on the Qualified
                      Bidder.

                              (iii) Conduct of the Auction. Seller and her advisors shall direct
                      and preside over the Auction. All Bids made after the Opening Bid shall be
                      Overbids (as defined below), and shall be made and received on an open
                      basis, and all material terms of each Overbid shall be fully disclosed to all

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                      other Qualified Bidders that are participating in the Auction. Each
                      Qualified Bidder will be permitted a fair, but limited amount of time to
                      respond to each Overbid. Seller shall maintain a transcript of the Opening
                      Bid and all Overbids made and announced at the Auction, including the
                      Successful Bid and the Back-up Bid;

                              (iv)   Lots. Qualified Bidders may submit a Lot Bid for one (1) or
                      more of the following Lots and the associated assets listed below, to the
                      extent they are not expired or revoked:

                      (1).   Lot No. 1 – Worley & Obetz, Inc., Retail Division. Lot No. 1
                             consists of substantially all of the assets necessary to operate Worley
                             & Obetz, Inc.’s Retail Division, which was engaged in the business
                             of delivery of heating oil to local residences, and diesel, kerosene,
                             and gasoline fuel to local farms and businesses. Such assets include
                             certain (a) real property located across the street from 85 White Oak
                             Road, Manheim, PA 17545 (Tax Parcel No. 500-04089-0-0000),
                             and any building structure and improvements thereon, and all
                             personal property and fuel inventory located on the premises to the
                             extent personal property is not assigned and/or included in other
                             lots/divisions, (b) real property located at 24 New Charlotte Street,
                             Manheim, PA 17545, and any building, warehouse, structure, and
                             improvements thereon, and all personal property and fuel inventory
                             located on the premises to the extent personal property is not
                             assigned and/or included in other lots/divisions, (c) two (2) leases
                             for tank storage, (d) other storage and skid tanks, (e) access to
                             Cargas Energy system for customer information and location, (f)
                             retail tankwagon trucks and any fuel inventory located therein, and
                             (g) other related assets used in the business operations of Worley &
                             Obetz, Inc.’s Retail Division.

                      (2).   Lot No. 2 – Worley & Obetz, Inc., Propane Division. Lot No. 2
                             consists of substantially all of the assets necessary to operate Worley
                             & Obetz, Inc.’s Propane Division, which was engaged in the
                             business of delivery of propane fuel to local residences, local farms
                             and businesses. Such assets include (a) three (3) propane tank
                             storage property leases, (b) certain customer tanks owned by Worley
                             & Obetz, Inc., (c) certain bulk storage tanks and any fuel inventory
                             included therein, (d) various customer supply and delivery
                             agreements, (e) access to Cargas Energy system for customer
                             information and location, (f) certain propane tank parts and
                             installation equipment, (g) two (2) 2018 Ford F-350 Supercab
                             propane crane trucks, (h) one (1) 2015 Peterbilt 348 retail propane
                             truck and any fuel inventory located therein, (i) one (1) 2017
                             Peterbilt retail propane truck and any fuel inventory located therein,
                             (j) certain retail propane trucks, propane utility trucks, propane
                             crane tricks, and trailers for propane tanks and any fuel or other

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                             inventory located therein, and (k) other related assets used in the
                             business operations of Worley & Obetz, Inc.’s Propane Division.

                      (3).   Lot No. 3 – Worley & Obetz, Inc., Service & Installation Division.
                             Lot No. 3 consists of substantially all of the assets necessary to
                             operate Worley & Obetz, Inc.’s Service & Installation Division,
                             which was engaged in the business of installation and maintenance
                             of residential and small commercial HVAC systems for commercial
                             customers, which systems utilize heating oil and propane, electric
                             heat pumps, or natural gas. Such assets include (a) certain HVAC
                             service equipment, parts and sundry inventory stored at 85 White
                             Oak Road, Manheim, PA, (b) certain service contracts for customer
                             HVAC systems, (c) access to Cargas Energy system for customer
                             information and location, (d) one (1) 2017 Ford Transit 250 Service
                             Van and any HVAC service part inventory located therin, (e) certain
                             service vans and utility trailers and any HVAC service part
                             inventory located therein, and (f) other related assets used in the
                             business operations of Worley & Obetz, Inc.’s Service &
                             Installation Division.

                      (4).   Lot No. 4 – Worley & Obetz, Inc., Value Energy North Division.
                             Lot No. 4 consists of substantially all of the assets necessary to
                             operate Worley & Obetz, Inc.’s Value Energy North Division,
                             which was engaged in the business of (a) delivery of heating oil and
                             propane to local residences, and diesel, kerosene, and gasoline fuel
                             to local farms and businesses, and (b) maintenance and service of
                             residential HVAC systems. Such assets include (a) leases for the
                             office space located at 318 N. Elmer Avenue and 417 North Lehigh
                             Street, Sayre, PA 18840, (b) one (1) propane storage property tank
                             lease, (c) one (1) copier lease, (d) certain customer tanks owned by
                             Worley & Obetz, Inc., (e) certain bulk storage tanks and any fuel
                             inventory located therein, (f) certain HVAC equipment and supplies
                             used for the maintenance and service residential customer HVAC
                             systems, (g) certain miscellaneous truck parts and maintenance
                             equipment, (h) access to Cargas Energy system for customer
                             information and location, (i) one (1) 2017 Peterbilt retail propane
                             truck and any fuel inventory located therein, (j) certain service vans,
                             retail tankwagons, retail propane trucks, employee trucks and
                             vehicles and any fuel or HVAC service part inventory located
                             therein, and (k) other related assets used in the business operations
                             of Worley & Obetz, Inc.’s Value Energy North Division.

                      (5).   Lot No. 5 – Worley & Obetz, Inc., Value Energy South Division.
                             Lot No. 5 consists of substantially all of the assets necessary to
                             operate W&O’s Value Energy South Division, which was engaged
                             in the business of delivery of heating oil and propane to local
                             residences, and diesel, kerosene, and gasoline fuel to local farms and

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                             businesses. Such assets include (a) access to Cargas Energy system
                             for customer information and location, (b) one (1) 2015 Peterbilt
                             348 retail tankwagon and any fuel inventory located therein, (c)
                             certain retail propane trucks and retail tankwagons and any fuel
                             inventory located therein, and (d) other related assets used in the
                             business operations of Worley & Obetz, Inc.’s Value Energy South
                             Division.

                      (6).   Lot No. 6 – Worley & Obetz, Inc., Fleet Fueling Division. Lot No.
                             6 consists of substantially all of the assets necessary to operate
                             Worley & Obetz, Inc.’s Fleet Fueling Division, which was engaged
                             in the business of delivery of gasoline, diesel and diesel exhaust
                             fluid to customer sites and directly into customer fuel trucks. Such
                             assets include (a) access to Fleetcor system for customer
                             information and location, (b) 6,500 gallon diesel exhaust fluid
                             storage tank and any inventory located therein, (c) two (2) 2018
                             Mack GU713 fleet fueling trucks and any fuel inventory located
                             therein, (d) certain fleet fueling trucks, fleet fueling diesel exhaust
                             fluid delivery trucks and vans, and utility trailer and any fuel
                             inventory located therein, and (e) other related assets used in the
                             business operations of Worley & Obetz, Inc.’s Fleet Fueling
                             Division.

                      (7).   Lot No. 7 – Worley & Obetz, Inc., Wholesale Division. Lot No. 7
                             consists of substantially all of the assets necessary to operate Worley
                             & Obetz, Inc.’s Wholesale Division, which was engaged in the
                             business of delivery of gasoline, diesel and propane to resellers and
                             large users. Such assets include (a) six (6) leases for truck parking
                             lots at various locations, (b) one (1) lease for electronic logs with
                             Vendor Services Group, (c) access to Cargas Energy system for
                             customer information and location, (d) two (2) 2019 Peterbilt 567
                             Wholesale Tractors, (e) two (2) 2019 Heil Tank Trailers and any
                             fuel inventory located therein, (f) one (1) 2007 Heil Petroleum Tank
                             Trailer and any fuel inventory located therein, (g) two (2) 2014
                             Peterbilt 388 wholesale tractors, (h) one (1) 2014 Freightliner
                             Coronado wholesale tractor, (i) three (3) 2016 Freightliner
                             Coronado wholesale tractors, (j) three (3) 2014 Heil DOT 406
                             wholesale tank trailers and any fuel inventory located therein, (k)
                             one (1) 2017 Heil DOT 406 wholesale tank trailer and any fuel
                             inventory located therein, (l) seven (7) International wholesale
                             tractors (years 1999, 2007, 2010 (2), 2015, 2016), (m) seven (7) Heil
                             Trailer wholesale tank trailers (years 2001 (2), 2002 (2), 2012, 2013,
                             and 2014) and any fuel inventory located therein, (n) three (3) 2015
                             Heil Trailer wholesale tank trailers and any fuel inventory located
                             therein, (o) two (2) 2017 Freightliner CA125DC wholesale tractors,
                             (p) one (1) 2017 Mack CXU613 wholesale tractor, (q) one (1) 2017
                             Westmor Proline MC-331 wholesale propane trailer and any fuel

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                              inventory located therein, (r) one (1) 2016 Beall Petroleum Trailer
                              and any fuel inventory located therein, (s) certain wholesale tractors,
                              wholesale tank trailers, wholesale propane trailers, and utility
                              trailers and any fuel inventory located therein, and (t) other related
                              assets used in the business operations of Worley & Obetz, Inc.’s
                              Wholesale Division.

                      (8).    Lot No. 8 – Worley & Obetz, Inc., Pickup Truck Passenger
                              Vehicles. Lot No. 8 consists of Pickup Truck Passenger Vehicles
                              owned by Worley & Obetz, which vehicles include (a) five (5) Ford
                              F-150 (years 2001, 2013, 2013, 2015, and 2016), (b) four (4) Ford
                              F-250 (years 2003, 2011, 2014, and 2015), (c) one (1) 2008 Ford F-
                              150 Supercab, (d) three (3) Dodge Ram 1500 (years 2014 (1) and
                              2015 (2)), (e) one (1) 2017 Dodge Ram 2500, and (f) one (1) 2007
                              Dodge Dakota.

                      (9).    Lot No. 9 – Worley & Obetz, Inc., Premium Passenger Vehicles.
                              Lot No. 9 consists of Premium Passenger Vehicles owned by
                              Worley & Obetz, which vehicles include (a) six (6) Jeep Grand
                              Cherokee (years 2014 (2) and 2015 (4)), (b) one (1) 2015 Jeep
                              Cherokee, (c) one (1) 2015 Audi Q7, (d) one (1) 2008 Cadillac
                              Escalade, (e) one (1) 2013 Volkswagen Toureg, (f) one (1) 2018
                              Range Rover, and (g) one (1) 2016 Ford Explorer.

                      (10).   Lot No. 10 – Worley & Obetz, Inc., Economy Passenger Vehicles.
                              Lot No. 10 consists of Premium Passenger Vehicles owned by
                              Worley & Obetz, which vehicles include (a) seven (7) Ford Escape
                              (years 2010 (2), 2016 (2), 2017 (3)), (b) two (2) 2018 Chevrolet
                              Equinox, (c) one (1) 2005 Jeep Liberty Sport, (d) one (1) 2008 Jeep
                              Cherokee, (e) one (1) 2003 Ford Excursion, (f) one (1) 2015
                              Chevrolet Cruze, and (g) one (1) 2017 Chevrolet Bolt.

                      (11).   Lot No. 11 – Amerigreen Propane, LLC, Wholesale Division. Lot
                              No. 11 consists of substantially all of the assets necessary to operate
                              Amerigreen Propane, LLC’s Wholesale Division, which was
                              engaged in the business of wholesale sales of propane to other
                              petroleum distributors. Such assets include (a) certain terminal
                              transloader agreements, (b) certain propane throughput agreements,
                              (c) fuel inventory located at certain third party locations, (d) access
                              to Cargas Energy system for customer information and location, (e)
                              one (1) truck and one (1) trailer for transloader owned by
                              Amerigreen Propane, LLC, and (f) other related assets used in the
                              business operations of Amerigreen Propane, LLC’s Wholesale
                              Division.

                      (12).   Lot No. 12 – Amerigreen Energy, Inc., Renewables Division. Lot
                              No. 12 consists of substantially all of the assets necessary to operate

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                              Amerigreen Energy, Inc.’s Renewables Division, which was
                              engaged in the business of wholesale sales of renewable fuels,
                              including biodiesel and ethanol, to other petroleum distributors.
                              Such assets include certain (a) terminal service and throughput
                              agreements at fifty (50) terminal locations, (b) biodiesel storage,
                              blending, and throughput agreements, (c) fuel inventory located at
                              certain third party locations, (d) access to Cargas Energy system for
                              customer information and location, and (e) other related assets used
                              in the business operations of Amerigreen Energy, Inc.’s Renewables
                              Division.

                      (13).   Lot No. 13 – Amerigreen Energy, Inc., Petroleum Division. Lot No.
                              13 consists of substantially all of the assets necessary to operate
                              Amerigreen Energy, Inc.’s Petroleum Division, which was engaged
                              in the business of wholesale sales of diesel, heating oil and gasoline
                              to other petroleum distributors. Such assets include (a) one (1) tank
                              storage lease, (b) certain terminal agreements, (c) certain terminal
                              throughput agreements, (d) certain terminal storage and throughput
                              agreements, (e) fuel inventory located at certain third party
                              locations, (f) certain marketing agreements, (g) access to Cargas
                              Energy system for customer information and location, and (h) other
                              related assets used in the business operations of Amerigreen Energy,
                              Inc.’s Petroleum Division.

                      (14).   Lot No. 14 – Amerigreen Energy, Inc., Electricity Supply &
                              Brokerage Divisions. Lot No. 14 consists of substantially all of the
                              assets necessary to operate Amerigreen Energy, Inc.’s Electricity
                              Supply & Brokerage Divisions, which were engaged in the
                              businesses of (a) supplying electricity purchased from wholesale
                              market for delivery to residential and commercial customers
                              through public utility companies, and (b) brokerage for sale of
                              electricity to residential and commercial customers for third party
                              suppliers. Such assets include (a) certain unexpired brokerage
                              contracts with future annuity payment stream, (b) brokerage area
                              covering any deregulated electricity state, (c) access to utility billing
                              information and brokerage contracts, and (d) other related assets
                              used in the businesses of Amerigreen Energy, Inc.’s Electricity
                              Supply & Brokerage Divisions.

                      (15).   Lot No. 15 – Amerigreen Energy, Inc., Natural Gas Division. Lot
                              No. 15 consists of substantially all of the assets necessary to operate
                              Amerigreen Energy, Inc.’s Natural Gas Division, which was
                              engaged in the business of supplying natural gas purchased from
                              wholesale market for delivery to residential and commercial
                              customers through ten (10) public utility companies. Such assets
                              include (a) the supply area for residential and commercial customers
                              across Pennsylvania, New York and New Jersey, (b) access to utility

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                              billing information and brokerage contracts, and (c) other related
                              assets used in the business of Amerigreen Energy, Inc.’s Natural
                              Gas Division.

                      (16).   Lot No. 16 – Amerigreen Energy, Inc., Passenger Vehicles. Lot No.
                              16 consists of Passenger Vehicles owned by Amerigreen Energy,
                              Inc., which vehicles include (a) six (6) Jeep Grand Cherokee (years
                              2010 (2), 2014 (3), and 2015), (b) two (2) 2016 Ford Escape, (c) one
                              (1) 2015 Chevrolet Tahoe, and (d) one (1) 2011 Ford F-650 Box
                              Truck.

                      (17).   Lot No. 17 – Worley & Obetz, Inc., Real Property and
                              Improvements at 107 Maytown Road, Elizabethtown, PA. Lot No.
                              17 consists of the real property located at 107 Maytown Road,
                              Elizabethtown, PA, and all buildings, improvements, and personal
                              property located thereon.

                      (18).   Lot No. 18 – Worley & Obetz, Real Property, Office Building, and
                              Warehouse located at 85 White Oak Road, Manheim, PA 17545.
                              Lot No. 18 consists of the real property located at 85 White Oak
                              Road, Manheim, PA 17545 (Tax Parcel No. 500-27334-0-0000), the
                              office building, warehouse, and improvements thereon, and all
                              personal property located on the premises to the extent personal
                              property is not assigned and/or included in other lots/divisions. Lot
                              No. 18 specifically excludes the retail storage area located across
                              the street. Lot No. 18 also includes (a) one (1) electric motorcycle,
                              (b) one (1) 2010 John Deere Gator, (c) one (1) custom motorcycle,
                              (d) one (1) Hyster Towmotor forklift, and (e) one (1) 2014 John
                              Deere Z950R LP Mower.

                              (v)     Terms of Overbids. An “Overbid” is any Bid made at the
                      Auction subsequent to Sellers’ announcement of (A) the Opening Bid, and
                      (B) the then highest and/or best Overbid at the beginning of each subsequent
                      round of bidding (the “Round Leading Bid”). To submit an Overbid, in any
                      round of the Auction, a Qualified Bidder must comply with the following
                      conditions:

                                    (A)     Subsequent Overbid Increment. Any Overbid shall
                      be made in increments of at least two hundred fifty thousand dollars
                      ($250,000.00) (the “Subsequent Overbid Increment”). The amount of the
                      Purchase Price of any Overbid shall not be less than the Purchase Price of
                      the Opening Bid or the Round Leading Bid, as applicable.

                                    (B)    Remaining Terms the Same as for Qualified Bids.
                      Except as modified herein, an Overbid must comply with the conditions for
                      a Qualified Bid and the Minimum Initial Overbid requirements shall be
                      replaced with the Subsequent Overbid Increment requirements set forth

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                      above; provided, however, that the Bid Deadline shall not apply. Any
                      Overbid made by a Qualified Bidder must remain open and binding on the
                      Qualified Bidder until the Termination Date. Seller shall credit the amount
                      of the Break-Up Fee to each and every Overbid submitted by Purchaser at
                      the Auction, meaning that if Purchaser’s subsequent Overbid is the Round
                      Leading Bid, any subsequent Overbid must exceed Purchaser’s Overbid by
                      the amount of the Break-Up Fee and Subsequent Overbid Increment. To
                      the extent not previously provided (which shall be determined by Seller), a
                      Qualified Bidder submitting an Overbid must submit, as part of its Overbid,
                      written evidence (in the form of financial disclosure or credit-quality
                      support information or enhancement acceptable to Seller in her reasonable
                      business judgment) demonstrating such Qualified Bidder’s ability to close
                      the transaction proposed by such Overbid.

                                     (C)     Announcing Overbids. At the start of each round of
                      bidding, Seller shall announce the Round Leading Bid, the basis for
                      calculating the total consideration offered in the Round Leading Bid, and
                      the resulting benefit to Seller based on, among other things, the Bid
                      Assessment Criteria.

                               (vi)   Closing the Auction. Upon conclusion of the bidding, the
                      Auction shall be closed, and Seller shall identify the highest and/or best
                      Overbid or Opening Bid (the “Successful Bid” and the entity or entities
                      submitting such Successful Bid, the “Successful Bidder”), and the next
                      highest and/or best Overbid or Opening Bid, after the Successful Bid (the
                      “Back-up Bid”), and advise the remaining Qualified Bidders of such
                      determination. All bidding for the Purchased Assets will be concluded at
                      the Auction and there will be no further bidding at the Bankruptcy Court
                      hearing held in the Bankruptcy Cases to approve the highest or best bid for
                      the Purchased Assets (the “Approval Hearing”). If the Successful Bidder
                      fails to close on the Successful Bid, the Back-up Bid shall automatically be
                      deemed to be the winning Bidder; provided, however, the Back-up Bid shall
                      be recalculated to an amount that would have been the Successful Bid had
                      the Successful Bidder not participated at the Auction, plus an additional
                      $100,000.

                       (d)     Consent to Jurisdiction as Condition to Bid. All Qualified Bidders
               at the Auction shall be deemed to have consented to the jurisdiction of the Court
               and waived any right to a jury trial in connection with any disputes relating to the
               Auction, and the construction and enforcement of the Bidder’s Contemplated
               Transaction Documents, as applicable. Qualified Bidders (other than Purchaser)
               shall not be deemed third party beneficiaries of these Bidding Procedures and shall
               not have standing to object to the administration of the Bidding Procedures by
               Seller.

                       (e)     Reimbursement of Deposit; Break-Up Fee. Upon consummation of
               a sale of all or substantially all of the Purchased Assets to any third party (other

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               than Purchaser) who submits the Successful Bid for the Purchased Assets, upon the
               occurrence of the actions set forth in Section 9.1(a), 9.1(b), 9.1(d), or 9.1(f), or if
               Seller commits a material breach of this Agreement or unilaterally abandons
               consummation of the Transactions contemplated by this Agreement, Seller shall
               (i) pay to Purchaser in immediately available funds an amount equal to the Break-
               Up Fee, and (ii) refund the Deposit. The provisions of this Section 6.3(e) shall
               survive any termination of this Agreement. The Break-Up Fee shall be treated as a
               Chapter 7 administrative expense claim in the Bankruptcy Cases, and shall be paid
               to Purchaser upon the earlier to occur from (x) the closing of the sale of all or
               substantially all of the Purchased Assets to any third party (and no Lien of any third
               party shall attach to the portion of the sale proceeds representing the Break-Up Fee),
               or (y) the Closing of the Bankruptcy Cases. The obligation to pay the Break-Up
               Fee and Deposit under this Agreement shall be absolute and unconditional and shall
               not be subject to any defense, claim, counterclaim, offset, recoupment or reduction
               of any kind whatsoever, provided, however, that, for the avoidance of doubt and
               notwithstanding anything herein to the contrary, the Break-Up Fee shall only be
               payable if approved by the Bankruptcy Court. Purchaser’s right to the Break-Up
               Fee shall be the sole and exclusive remedy of Purchaser in the event Seller
               materially breaches this Agreement or if this Agreement is terminated by Seller.

                        (f)     Bankruptcy Court Approval of Sale. Seller and Purchaser shall each
               use their reasonable efforts, and shall cooperate, assist and consult with each other,
               to secure the entry of an Order (the “Approval Order”) of the Bankruptcy Court in
               the Bankruptcy Cases in form and substance acceptable to Seller and Purchaser
               containing provisions, including without limitation, (i) approving this Agreement,
               (ii) authorizing the sale of the Purchased Assets pursuant to Section 363 of the
               Bankruptcy Code, (iii) authorizing the assumption and assignment of the Assumed
               Contracts pursuant to Section 365 of the Bankruptcy Code, (iv) authorizing the
               Transactions, (v) approving the Break-Up Fee and Bid Protection and
               (vi) providing that this Agreement and the Transactions are undertaken by
               Purchaser and Seller at arm’s length, without collusion, and in good faith within
               the meaning of Section 363(m) of the Bankruptcy Code, that Purchaser and Seller
               are entitled to the protections of Section 363(m) of the Bankruptcy Code, and that
               the provisions of Section 363(n) of the Bankruptcy Code are not applicable. Seller
               and Purchaser shall cooperate with one another in good faith regarding pleadings
               that either of them intends to file, or positions either of them intends to take, with
               the Bankruptcy Court in connection with or that might reasonably affect the
               Bankruptcy Court’s entry of the Approval Order.

               6.4     Notices. If at any time (a) Purchaser becomes aware of any material breach
       by Seller of any representation, warranty, covenant or agreement contained herein and such
       breach is capable of being cured by Seller, or (b) Seller becomes aware of any breach by
       Purchaser of any representation, warranty, covenant or agreement contained herein and
       such breach is capable of being cured by Purchaser, the Party becoming aware of such
       breach shall promptly notify the other Party, in accordance with Section 10.1, in writing of
       such breach. Upon such notice of breach, the breaching Party shall have until the earlier


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       of (y) ten (10) days after receiving such notice, and (z) the End Date, to cure such breach
       prior to the exercise of any remedies in connection therewith.

       7.      Tax Matters.

               7.1     Tax Cooperation. Purchaser and Seller agree to furnish or cause to be
       furnished to each other, upon request, as promptly as practicable, such information and
       assistance relating to the Purchased Assets (including access to books and records) as is
       reasonably necessary for the preparation and filing of any Tax Returns, the making of any
       election relating to Taxes, the preparation for any audit or examination by any Taxing
       Authority, and the prosecution or defense of any Claim, suit or proceeding relating to any
       Tax. Seller and Purchaser shall cooperate with each other in good faith in the conduct of
       any audit or other proceeding relating to Taxes involving the Purchased Assets or the
       Business (each, a “Tax Claim”), provided that Seller shall (a) promptly notify Purchaser of
       any notice received in respect to any Tax Claim, (b) promptly notify Purchaser of any
       significant developments regarding such Tax Claim, (c) permit Purchaser (if Purchaser so
       chooses) to control the defense and/or resolution of any Tax Claim if any resolution or
       settlement of such Tax Claim reasonably could be expected to have an effect on Purchaser,
       any of Purchaser’s Affiliates or any Purchased Asset for any taxable period, (d) take all
       actions and cooperation reasonably necessary in furtherance of the immediately preceding
       clause (c), and (e) not settle or otherwise resolve any Tax Claim without the prior written
       consent of Purchaser.

                7.2    Transfer Taxes. All transfer, documentary, sales, use, stamp, registration
       and other such Taxes and fees (including any penalties and interest thereon) incurred in
       connection with this Agreement (collectively, “Transfer Taxes”) shall be split equally
       between Seller and Purchaser, and Purchaser shall file all necessary Tax Returns and other
       documentation with respect to all such transfer, documentary, sales, use, stamp, registration
       and other taxes and fees, and if required by applicable law, the Seller and the Debtors shall
       join in the execution of any such Tax Returns and other documentation. The cost of filing
       any such tax returns shall be split equally between Seller and Purchaser.

               7.3     Real Property Taxes. Real estate Taxes and water and sewer rents, if any,
       shall be apportioned and pro-rated between Seller and Purchaser as of the Closing Date.
       All state, county and local realty, conveyance, recordation and/or documentary Transfer
       Taxes shall be split equally between the Purchaser and Seller. Any real estate Taxes not
       known or estimated at the Closing and/or real estate Taxes readjusted by municipal
       authorities after the Closing shall be re-prorated when the amount thereof becomes known.

               7.4     Personal Property, Ad Valorem and Excise Taxes. Purchaser shall not be
       liable for any unpaid personal property, ad valorem or excise taxes assessed or due to be
       paid prior to the Closing Date.




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       8.      Closing Conditions.

              8.1    Conditions to Obligations of Purchaser and Seller. The obligations of
       Purchaser and Seller to consummate the Closing are subject to the satisfaction at or before
       Closing of each and every one of the following conditions:

                       (a)      The Bankruptcy Court shall have entered the Approval Order in the
               Bankruptcy Cases, and the Bankruptcy Court shall have waived the stay imposed
               by Rule 6004(h) of the Federal Rules of Bankruptcy Procedure as to the Approval
               Order, authorizing the Transactions and approving this Agreement under
               Sections 105(a), 363 and 365 of the Bankruptcy Code, in form and substance
               reasonably acceptable to Seller and Purchaser, and the Approval Order shall contain
               findings that Purchaser acquired the Purchased Assets in good faith, for fair value,
               in an arm’s length transaction, and as of the Closing Date the Approval Order shall
               be in full force and effect, shall not then be stayed, and shall not have been vacated
               or reversed; and

                      (b)   No injunction, stay or similar Order issued by any Governmental
               Authority shall be in effect that restrains, enjoins, stays or prohibits the
               consummation of the Transactions.

              8.2     Conditions to Obligations of Purchaser. The obligation of Purchaser to
       consummate the Closing is subject to the satisfaction (or waiver by Purchaser) of the
       following further conditions:

                       (a)    Seller shall have performed in all material respects all of its
               obligations hereunder required to be performed by Seller on or prior to the Closing
               Date;

                      (b)     the representations and warranties of Seller contained in this
               Agreement shall be true and correct in all material respects at and as of the Closing
               Date, as if made at and as of such date (or to the extent such representations and
               warranties speak as of an earlier date, they shall be true and correct as of such earlier
               date);

                      (c)     Seller shall not be in default in any material respect under the
               provisions of this Agreement; and

                       (d)    Purchaser shall have received all of the documents required to be
               delivered by Seller under Section 2.9.

              8.3     Conditions to Obligations of Seller. The obligation of Seller to consummate
       the Closing is subject to the satisfaction (or waiver by Seller) of the following further
       conditions:

                       (a)    Purchaser shall have performed in all material respects all of its
               obligations hereunder required to be performed by it at or prior to the Closing Date;


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                      (b)      the representations and warranties of Purchaser contained in this
               Agreement shall be true and correct in all material respects at and as of the Closing
               Date, as if made at and as of such date (or to the extent such representations and
               warranties speak as of an earlier date, they shall be true and correct in all material
               respects as of such earlier date);

                      (c)     Purchaser shall not be in default in any material respect under the
               provisions of this Agreement; and

                       (d)   Seller shall have received all of the documents required to be
               delivered by Purchaser under Section 2.10.

       9.      Termination.

               9.1     Grounds for Termination. This Agreement may be terminated at any time
       prior to the Closing:

                      (a)     by mutual written agreement of Seller and Purchaser;

                      (b)      by Seller or Purchaser, if the Closing shall not have been
               consummated on or before [●], 2018 (the “End Date”), unless the Party seeking
               termination is in breach of its obligations hereunder;

                       (c)     by Seller or Purchaser, if any condition set forth in Section 8.1 is not
               satisfied, and such condition is incapable of being satisfied by the End Date;

                       (d)     by Purchaser, if any condition set forth in Section 8.2 has not been
               satisfied, and such condition is incapable of being satisfied by the End Date;

                       (e)     by Seller, if any condition set forth in Section 8.3 has not been
               satisfied, and such condition is incapable of being satisfied by the End Date; or

                      (f)     by Seller, if (i) Seller executes a definitive agreement with a third
               party (other than Purchaser) for the acquisition of all or substantially all the
               Purchased Assets, and (ii) the Bankruptcy Court enters an Order in the Bankruptcy
               Cases approving such definitive agreement.

The Party desiring to terminate this Agreement pursuant to this Section 9.1 (other than pursuant to
Section 9.1(a)) shall give notice of such termination to the other Party in accordance with
Section 10.1.

               9.2     Effect of Termination. If this Agreement is terminated as permitted by
       Section 9.1, such termination shall be without Liability of any Party (or any stockholder,
       director, officer, employee, agent, consultant or representative of such Party) to the other
       Party to this Agreement except as expressly provided in Section 6.3(e). The provisions of
       Section 6.3(e) shall survive any termination hereof pursuant to Section 9.1.




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               9.3    Fees and Expenses. Except as otherwise set forth expressly herein, all costs
       and expenses incurred by the Parties in connection with obtaining Bankruptcy Court
       approval and consummation of this Agreement and the Transactions contemplated hereby
       shall be paid by the Party incurring such cost or expense.

       10.     Miscellaneous.

              10.1 Notices. All notices, requests and other communications to any Party
       hereunder shall be in writing (including via electronic mail) and shall be given,

                       if to Purchaser, to:

                               Wiggins Gas Propane & Alternative Fuels LLC
                               c/o
                               Vedder Price P.C.
                               222 North LaSalle Street
                               Chicago, Illinois 60601
                               Attention: Michael M. Eidelman, Esq.
                               e-mail: meidelman@vedderprice.com

                       with a copy to (which shall not constitute notice):

                               Vedder Price P.C.
                               222 North LaSalle Street
                               Chicago, Illinois 60601
                               Attention: Michael M. Eidelman, Esq.
                               e-mail: meidelman@vedderprice.com

                       if to Seller, to:

                               Christine C. Shubert
                               821 Wesley Avenue
                               Ocean City, NJ 08226
                               e-mail: Christine.shubert@bmstrustee.onmicrosoft.com

                       with a copy to (which shall not constitute notice):

                               Fox Rothschild LLP
                               2000 Market Street
                               20th Floor
                               Philadelphia, PA 19103
                               Attn: Michael Menkowitz
                               e-mail: mmenkowitz@foxrothschild.com

All such notices, requests and other communications shall be deemed received on the date of
receipt by the recipient thereof if received prior to 5:00 p.m. in the place of receipt and such day
is a Business Day in the place of receipt. Otherwise, any such notice, request or communication


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shall be deemed not to have been received until the next succeeding Business Day in the place of
receipt.

              10.2 Limitation on Damages. No Party shall be authorized to recover from the
       other Party any special, consequential, exemplary or punitive damages on account of any
       breach of this Agreement, AND ANY SUCH CLAIM, RIGHT, OR CAUSE OF ACTION
       FOR ANY SUCH DAMAGES IS HEREBY FULLY WAIVED, RELEASED AND
       FOREVER DISCHARGED.

               10.3 Waivers. No failure or delay by any Party in exercising any right, power or
       privilege hereunder shall operate as a waiver thereof, nor shall any single or partial exercise
       thereof preclude any other or further exercise thereof or the exercise of any other right,
       power or privilege. The rights and remedies herein provided shall be cumulative.

              10.4 Successors and Assigns. The provisions of this Agreement shall be binding
       upon and inure to the benefit of the Parties and their respective successors and assigns;
       provided, however, that no Party may assign, delegate or otherwise transfer any of its rights
       or obligations under this Agreement without the written consent of the other Party;
       provided further that Purchaser shall have the right to designate one or more wholly owned
       subsidiaries or Affiliates to take title to the Purchased Assets at the Closing, so long as
       Purchaser remains liable for all of its obligations hereunder and provided such designation
       does not violate any consent or other approval which has been obtained by Seller.

              10.5 Governing Law. This Agreement shall be governed by and construed in
       accordance with the Laws of the Commonwealth of Pennsylvania and any applicable
       provisions of the Bankruptcy Code, without regard to the principles of conflicts of Law
       that would provide for application of another Law.

               10.6   Jurisdiction.

                       (a)     Prior to the closing of the Bankruptcy Cases, the Parties hereto agree
               that any suit, action or proceeding seeking to enforce any provision of, or based on
               any matter arising out of or in connection with, this Agreement or the Transactions
               shall be brought exclusively in the Bankruptcy Court, and each of the Parties hereby
               irrevocably consents to the jurisdiction of the Bankruptcy Court (and of the
               appropriate appellate courts therefrom) in any such suit, action or proceeding and
               irrevocably waives, to the fullest extent permitted by Law, any objection that it may
               now or hereafter have to the laying of the venue of any such suit, action or
               proceeding in the Bankruptcy Court or that any such suit, action or proceeding
               which is brought in the Bankruptcy Court has been brought in an inconvenient
               forum. Process in any such suit, action or proceeding may be served on any Party
               anywhere in the world, whether within or without the jurisdiction of the Bankruptcy
               Court. Without limiting the foregoing, each Party agrees that service of process on
               such Party as provided in Section 10.1 shall be deemed effective service of process
               on such Party.




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                       (b)     After the closing of the Bankruptcy Cases, except as otherwise
               expressly provided in this Agreement, the Parties hereto agree that any suit, action
               or proceeding seeking to enforce any provision of, or based on any matter arising
               out of or in connection with, this Agreement or the Transactions may be brought in
               any court having subject matter jurisdiction over such suit, action or proceeding,
               and that any cause of action arising out of this Agreement shall be deemed to have
               arisen from a transaction of business in the Commonwealth of Pennsylvania, and
               each of the Parties hereby irrevocably consents to the jurisdiction of such courts
               (and of the appropriate appellate courts therefrom) in any such suit, action or
               proceeding and irrevocably waives, to the fullest extent permitted by Law, any
               objection that it may now or hereafter have to the laying of the venue of any such
               suit, action or proceeding in any such court or that any such suit, action or
               proceeding which is brought in any such court has been brought in an inconvenient
               forum. Process in any such suit, action or proceeding may be served on any Party
               anywhere in the world, whether within or without the jurisdiction of any such court.
               Without limiting the foregoing, each Party agrees that service of process on such
               Party as provided in Section 10.1 shall be deemed effective service of process on
               such Party.

            10.7 Waiver of Jury Trial. EACH OF THE PARTIES HERETO HEREBY
       IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY
       LEGAL PROCEEDING ARISING OUT OF OR RELATED TO THIS AGREEMENT OR
       THE TRANSACTIONS.

               10.8 No Third-Party Beneficiaries. Other than as set forth in Section 10.10(a),
       no provision of this Agreement is intended to confer upon any Person other than the Parties
       hereto any rights or remedies hereunder.

               10.9 Entire Agreement; Amendments; Counterparts. This Agreement (including
       the Schedules and Exhibits hereto) sets forth the entire agreement between the Parties with
       respect to the subject matter hereof and may be amended only by a writing executed by
       Purchaser and Seller. This Agreement may be executed in counterparts, each of which
       when taken together shall constitute an original. A signed copy of this Agreement
       delivered by facsimile, e-mail or other means of electronic transmission shall be deemed
       to have the same legal effect as delivery of an original signed copy of this Agreement. This
       Agreement shall become effective when each Party hereto shall have received a counterpart
       hereof signed by the other Party hereto. In the event of any conflict or inconsistency
       between the statements in this Agreement and the Bidding Procedures, the statements in
       this Agreement shall control.

               10.10 Pre-Petition Secured Party.

                      (a)     Notwithstanding anything to the contrary herein, Fulton Bank, N.A.
               (the “Pre-Petition Secured Party”) will be deemed a third-party beneficiary
               hereunder entitled to exercise and enforce any and all rights, powers, privileges and
               remedies of Seller pursuant to this Agreement or any other agreement, instrument
               or document executed in connection herewith. Without limiting the generality of

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               the foregoing, and notwithstanding anything to the contrary in this Agreement or in
               any other agreement, instrument or document executed in connection herewith,
               Seller will not exercise any right to terminate, or execute and deliver or otherwise
               provide any waivers, consents or amendments under, this Agreement or any of the
               other agreements, instruments or documents executed in connection herewith,
               without the prior written consent of the Pre-Petition Secured Party (which shall not
               be unreasonably withheld, conditioned or delayed).

                       (b)      Notwithstanding anything to the contrary in this Agreement or any
               other agreement, instrument or document executed in connection herewith, the Pre-
               Petition Secured Party (i) is not making any representations or warranties to any or
               all of Seller, Purchaser or any of their respective Affiliates in connection with this
               Agreement or any other agreement, instrument or document executed in connection
               herewith, or the transactions contemplated herein or therein, (ii) will not be liable
               to any Person for any breach by any or all of Seller, Purchaser or any of their
               respective Affiliates or any of their respective representations, warranties,
               covenants or other agreements in connection with this Agreement or any other
               agreement, instrument or document executed in connection herewith or any of the
               Transactions contemplated herein or therein, and (iii) will not have any obligations
               or liabilities under or in respect of any of this Agreement or any other agreement,
               instrument or document executed in connection herewith or any of the Transactions
               contemplated herein or therein, other than the release of any mortgages, security
               interests, Liens and the like. Without limiting the generality of the foregoing,
               provided the Approval Order is entered, under no circumstances will the Pre-
               Petition Secured Party be obligated to return or otherwise disgorge to or for the
               benefit of Purchaser or any Affiliate thereof any proceeds remitted to the Pre-
               Petition Secured Party, other than the Break-Up Fee (if applicable).

               10.11 Headings; Interpretation. The headings contained in this Agreement are for
       convenience of reference only and shall not affect the meaning or interpretation of this
       Agreement. Whenever the words “include,” “includes” or “including” are used in this
       Agreement, they shall be deemed to be followed by the words “without limitation.” In the
       event an ambiguity or question of intent or interpretation arises, this Agreement shall be
       construed as if drafted jointly by the Parties, and no presumption or burden of proof shall
       arise favoring or disfavoring any Party by virtue of authorship of any provisions of this
       Agreement. Unless the context otherwise clearly requires, references herein to words
       importing the masculine gender shall include the feminine and neutral genders and vice
       versa.

                                    [Signature page follows.]




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                                        EXHIBIT A

                  Form of Bill of Sale, Assignment and Assumption Agreement




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                                  DISCLOSURE SCHEDULES

        The following schedules (the “Disclosure Schedules”) are furnished by the Seller and
Debtors to the Purchaser pursuant to and as part of the Asset Purchase Agreement dated as of
August 24, 2018 (the “Agreement”) by and between Christine C. Shubert, in her capacity as
Chapter 7 Trustee (“Seller”) for the estates of (i) Worley & Obetz, Inc. (Case No. 18-13774-
REF); (ii) Americomfort, Inc., Case No. 18-13775-REF); (iii) Amerigreen Energy, Inc. (Case
No. 18-13777-REF); (iv) Advance Air, Inc. (Case No. 18-13778-REF); (v) Amerigreen Energy
Brokers, LLC (Case No. 18- 13779-REF); (vi) Amerigreen Electricity, LLC (Case No. 18-
13780-REF); (vii) Amerigreen Hedging Services, LLC (Case No. 18-13781-REF);
(viii) Amerigreen Lubricants, LLC (Case No. 18-13782-REF); (ix) Amerigreen Natural Gas,
LLC (Case No. 18-13783-REF); and (x) Amerigreen Propane, LLC (Case No. 18-13784-REF)
(collectively, the “Debtors”) and Wiggins Gas Propane & Alternative Fuels LLC, a Delaware
limited liability company (or its Assignee, “Purchaser”). All capitalized terms used but not
defined herein shall have the meanings ascribed to such terms in the Agreement.

        Unless otherwise noted, the references to section numbers in the Disclosure Schedules
correspond to the section numbers of the representations, warranties, covenants or conditions in
the Agreement. An exception or qualification set forth in the Disclosure Schedules with respect
to a particular representation or warranty will be deemed to be an exception or qualification with
respect to all other applicable representations and warranties to the extent the description of the
facts regarding the event, item or matter disclosed is adequate so as to make reasonably clear or
otherwise make the Purchaser reasonably aware that such exception or qualification is applicable
to such other representations and warranties whether or not such exception or qualification is so
numbered or such other representations and warranties expressly refer to a Schedule. Each
disclosure made in a Disclosure Schedule shall be deemed incorporated into each other Schedule
in which the applicability of such disclosure is readily apparent on its face. Attachments and
annexes delivered in connection with these Disclosure Schedules are incorporated by reference
in and constitute a part of these Disclosure Schedules.

        Nothing in the Disclosure Schedules is intended to broaden the scope of any
representation or warranty contained in the Agreement or to create any covenant. Inclusion of
any item in the Disclosure Schedules: (i) does not represent a determination that such item is
material or establish a standard of materiality, (ii) does not represent a determination that such
item did not arise in the ordinary course of business, (iii) shall not constitute, or be deemed to be,
an admission to any third party concerning such item or (iv) does not represent a determination
that the consummation of the transactions contemplated by the Agreement requires the consent
of any third party except where such a representation or disclosure so provides.
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                                         Schedule 1.1(v)

                                     Leased Real Property

902 Strasburg Pike, Strasburg, PA 17579 (Rineer Sons Real Estate, LLC) – lease for land only.
Seller owns underground petroleum storage tanks, truck rack, pumps, and canopy.

709 Hartman Station Road, Lancaster, PA 17602 (Hartman Station Road, Inc.) – two separate
leases:

   1. Land lease only for placement of two large propane storage tanks on concrete saddles,
      associated pumps and meters.
   2. Lease for use of underground petroleum storage tank owned by Lessor.

16 Lititz Road, Lititz, PA 17543 (Rohrer’s Quarry, Inc.) – land lease only for placement of two
large propane storage tanks on concrete saddles, associated pumps and meters.

2388 North Market Street, Elizabethtown, PA 17022 (Crowe Realty, LLC) - land lease only for
placement of large propane storage tank on concrete saddles, associated pumps and meters.

316-318 North Elmer Avenue, 413-417 North Lehigh Avenue, Sayre, PA 18840 (JW Bishop
Properties, LLC) – lease for office building, storage building, maintenance building, rental house
used in Seller’s Value Energy North division. Seller owns above ground storage tanks situated
on property.

685 Broad Street Ext, Waverly, NY 14892 (Waverly Trade Center, LLC) – land lease only for
placement of large propane storage tank on concrete saddles, associated pumps and meters as
well as vehicle storage.

35 Doe Run Road, Manheim, PA 17545 (Robert Seth Obetz) – lease for land only. Building
improvements consisting of: convenience store, car wash, underground petroleum storage tanks,
gasoline/diesel dispensers and pumps, propane above ground storage tank and dispenser,
canopies, etc. are the property of the Seller. Cardlock Asset – Excluded.

202 Greenfield Road, Lancaster, PA 17602 (202 Greenfield, LP) – lease for land and building.
Significant building improvements made by Seller. Also property consists of shed, underground
storage tanks, gasoline/diesel dispensers and pumps, above-ground storage tank and dispenser
for propane, above-ground storage tank and dispenser for diesel exhaust fluid, canopy that is
property of the Seller. Cardlock Asset – Excluded.

1634 West Main Street, Ephrata, PA 17522 (Charles Rutt) – gasoline/diesel dispensers and
pumps, above-ground storage tank and dispenser for diesel exhaust fluid, above-ground storage
tank and dispenser for propane, canopy. Cardlock Asset – Excluded.

8 South Malin Road, Malvern, PA 19355 (Buckeye Terminals, LLC) – parking space for two
trucks.
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3760 Tank Farm Road, Emmaus, PA 18049 (Buckeye Energy Services, LLC) – parking space
for one truck.

PA Route 272 and Garden Spot Road, Ephrata, PA 17522 (Lester R. Summers, Inc.) - parking
space for two trucks.

1575 Ferndale Avenue, Johnstown, PA 15905 (Tri-County Motor Sales) – parking space for
seven trucks.

7043 Ellenberger Drive, Altoona, PA 16601 (Sel-Lo Oil, Inc.) - parking space for one truck.

1425 North Maxwell Street, Allentown, PA 18109 (Shadow Group Three, LLC) - parking space
for one truck.

101 East Cherry Street, Elizabethtown, PA 17022 (Lime Ridge Farm Properties, LP) – lease of
land and underground storage tanks, gasoline/diesel pumps and canopy owned by Seller.
Cardlock Asset – Excluded.

854 South 16th Street, Harrisburg, PA 17104 (Scheler Realty, LLC) – lease of land, underground
storage tanks, diesel and diesel exhaust fluid dispensers. Cardlock Asset – Excluded.
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                                       Schedule 2.1(a)

                                Acquired Owned Real Property

Real estate property at 107 Maytown Road & all buildings, improvements, and personal
property located thereon

Real estate property at 85 White Oak Road: office building, warehouse, improvements
thereon, and all personal property located on the premises to the extent personal
property is not assigned and/or included in other lots/divisions. Excludes the retail
storage area across the street..

Real estate located at 24 New Charlotte, Manheim, PA including any personal property thereon
Real estate located at White Oak Road, Manheim, PA (across the street from 85 White Oak
Road, Manheim, PA 17545) (Tax Parcel No. 500-04089-0-0000) including tanks and any other
personal property thereon.
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                                                                                                           Schedule 2.1(b)

                                                                                   Executory Contracts and Unexpired Leases


             PDF name                   Location(If other than description)        Agreement Type              Landlord/Lessor/"seller"                        Regarding                 Rent/Payment                 Other note

Vendor Services Group ‐ Fleet Log ELD                                                                                                          11/16 ‐ 11/19; (37) Fleet Manager
(November 2016)                       202 Greenfield Road, Lancaster PA        Equipment Rental              Vendor Services Group             with Diagnostics (Jbus) & (BYOD)ELD   $1,850/mo
                                                                                                                                               ONGOING; regarding a leased "sayre                        on US Bankruptcy court list, and
N/A                                   Sayre                                    Leased Equipment              Marlin Business Bank              copier"                               N/A                 not in data room provided to us
HC Rineer Sons Partnership                                                                                                                     05/06 ‐ 05/11, renew for 10           $7,500/mo, +~3% per
(May 2006)                            902 Strasburg Pike, Strasburg            Leased Premises               H.C. Rineer Sons Partnership      years total                           year
HL Wiker NRLM Lease Addendum                                                                                 Hartman Station, Inc (prev. H.L   Amendment to 08/08 lease;
(January 2018)                        709 Hartman Station Rd, Lancaster, PA    Leased Premises               Wiker)                            extension                             $0.055/gallon
JW Bishop Properties, LLC (March      318 N Elmer, 417 N Lehigh, 413 & 415
2013)                                 N Lehigh, and 316 N Elmer (Sayre)        Leased Premises               J.W. Bishop Properties, LLC       03/13 ‐ 03/23; renewal options        $6,940.11/mo
Lester R Summers Inc ‐ Ephrata        Summers Yard, Rt. 272 & Garden Spot                                                                                                            $150/mo, $150
(September 2016)                      Rd, Ephrata                              Leased Premises               Lester R. Summers                 09/16 ‐ 09/17; renewal of lease       sec. deposit
Lyons Obetz ‐ 55 Doe Run Road
(September 2016)                      55 Doe Run Road Suite 104 w/ ext.        Leased Premises               Lyons & Obetz                      09/16 ‐ 09/19, option to extend      $8,500/mo
                                      parking                                                                                                  06/14 ‐ 06/15, auto renew 3 times
                                     16 Lititz Road, lititz PA (Property to                                                                    (06/18). Permission to install a
Rohrer's Quarry (June 2014)          North side of main shop, with 30,000gal   Leased Premises               Rohrer's Quarry, Inc.             second 30,000 gal tank in 2014        $1,000/mo            W&O Bankruptcy Case notes this as
                                     tank) sq ft lot on 685 Broad
                                     69,750                                                                                                                                                               ongoing
Waverly Trade Center, LLC (May 2013) Street Extension, Waverly, New            Leased Premises               Waverly Trade Center, LLC         05/13 ‐ 05/18, option to renew        $2,000/mo
                                     York                                                                                                                                                                 on US Bankruptcy court list, and
N/A                                   2388 N. Market St., Elizabethtown PA     Leased Premises               Crowe Transportation              EXPIRES 12/31/21                      N/A                  not in data room provided to us
                                                                                                                                                                                                          on US Bankruptcy court list, and
N/A                                1575 Ferndale Ave, Johnstown, PA            Leased Premises               Tri‐County Motor Sales            ONGOING                               N/A                  not in data room provided to us
Se‐Lo Oil Inc ‐ Altoona (September
2017)                              7043 Ellenberger Drive, Altoona, PA         Leased Premises ‐ Parking     Se‐Lo Oil Inc                     08/22/17, month‐month                 $100/mo
Shadow Group Three LLC ‐ Allentown
(November 2017)                    1425 North Maxwell St., Allentown, PA       Leased Premises ‐ Parking     Shadow Group Three, LLC           11/17 ‐ no end in agreement           $150/mo

Biodiesel Thruput Agreement ‐ General                                                                                                                                                                     unsigned doc; automatically renews
Bangtson LLC (February 2018)          3 Washington Parkway, Hicksville NY      Throughput Agreement          General Bangston, LLC             01/18 ‐ 07/19                         $0.06/gal            for another year unless terminated
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Boyle Energy ‐ West Grove (March
2017)                              40 West Manoa Road, Havertown, PA   Throughput Agreement       Boyle Energy                   3/17 ‐ 03/20                          $0.05/gal
Buckeye Energy Services LLC ‐
Macungie (June 2017); W&O          3760 Tank Farm Road, Emmaus, PA     Throughput Agreement       Buckeye Energy Services, LLC   ongoing
Propane Throughput Agreement ‐ UGI                                                                                               05/18 ‐ 04/30/19; 4 locations for
Energy (May 2018)                  Steelton, Williamsport, Hunlock,    Throughput Agreement       UGI Energy Services, LLC       throughput agreement                  $0.035/gal
                                   Bethlehem                                                                                                                           $0.04/gal ‐ $0.05/gal
RF Ohl ‐ Lehighton (July 2017)    7505 Interchange Rd, Lehighton, PA   Throughput Agreement       RF Ohl Fuel Oil, Inc           07/17 ‐ 05/30/20
Storage Marketing Agreement ‐
Buckeye Terminals LLC (December   Macungie, Malvern, South             Throughput Agreement                                      10/12 ‐ 90 day interval auto renwal
2012)                             Williamsport, Tuckerton, Vestal      (Terminal and Marketing)   Buckeye Terminals, LLC         (ONGOING)                             $0.035/gal
                                  Terminals
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                              PDF name                                  Location(If other than description)              Agreement Type                    Landlord/Lessor/"seller"                        Regarding                                             Rent/Payment                          Other note
                                                                    Refer to 08/15 lease between JW Bishop                                                                                RE: 08/15/12 lease between JW Bishop and
                                                                                                                                                                                          Waverly Trade Center ‐ assets to be assumed
Lease Assumption ‐ Waverly Trade Center, LLC (March 2013)           and Waverly Trade Center               Lease assumption ‐ purchase              JW Bishop Company; Waverly Trade Cent
                                                                                                                                                                                          purchase
                                                                                                                                                                                          by W&O by
Pitney Bowes (08/10)                                                Delivered to 55 Doe Run Rd, Manheim    Leased Equipment                         N/A                                   Lease#6936736‐001; 42 months                          $156/quarter
Wysox (03/18) Amendment                                                                                    Leased Equipment                         Elbow River Marketing USA LTD.        07/17 ‐ 03/18, extending to 03/19
                                                                                                                                                                                                                                                $1.00/month, .02c/gallon for throughputted
Wysox (07/17) Transloader                                                                                  Leased Equipment                         Elbow River Marketing USA LTD.              07/17 ‐03/18; Transloader lease                 propane
Tank Storage Agreement ‐ Colmar Terminal                            3251 Trewigtown Road, Colmar, PA       Leased Equipment ‐ Tank Storage          Colmar Terminal, Inc.                       01/14 ‐ 12/18; extension options                $2,000/mo, additional charges depending on gallon usage
Crowe Realty LLC (January 2005)                                     85 White Oak Road, PO Box 429, Manheim Leased Premises                          Crowe Realty                                09/05 ‐ 09/06, renewing
HL Wiker ‐ NRLM (August 2008)                                       709 Hartman Station Rd, Lancaster, PA  Leased Premises                          H.L. Wiker, Inc.                            housing fuel; 07/08 ‐ 07/09, 1 year renewal
                                                                                                                                                                                               Lease propane storage tank area; 01/08
HL Wiker ‐ Propane (January 2008)                                   northeast of Hartman Station Road            Leased Premises                    H.L. Wiker, Inc.                           ‐ 01/13, renewal terms up until 01/18            $0.015/gallon, + base rent ~$1,160/mo
HL Wiker Addendum (January 2018)                                    709 Hartman Station Rd, Lancaster, PA        Leased Premises                    Hartman Station, Inc (prev. H.L Wiker)      Amendment to 08/08 lease; extension             $0.015/gallon, + base rent $1,345/mo
HL Wiker NRLM Lease Addendum (January 2014)                         709 Hartman Station Rd, Lancaster, PA        Leased Premises                    Hartman Station, Inc (prev. H.L Wiker)      Amendment to 08/08 lease; extension             $0.045/gallon
HL Wiker NRLM Lease Addendum (January 2015)                         709 Hartman Station Rd, Lancaster, PA        Leased Premises                    Hartman Station, Inc (prev. H.L Wiker)      Amendment to 08/08 lease; extension             $0.045/gallon
HL Wiker NRLM Lease Addendum (January 2016)                         709 Hartman Station Rd, Lancaster, PA        Leased Premises                    Hartman Station, Inc (prev. H.L Wiker)      Amendment to 08/08 lease; extension             $0.045/gallon
HL Wiker NRLM Lease Addendum (January 2017)                         709 Hartman Station Rd, Lancaster, PA        Leased Premises                    Hartman Station, Inc (prev. H.L Wiker)      Amendment to 08/08 lease; extension             $0.045/gallon
HL Wiker Propane Addendum (January 2013)                            northeast of Hartman Station Road            Leased Premises                    H.L. Wiker, Inc.                            True Up; extend through 01/13                   $62,700 at signing in prepaid rent

HL Wiker Propane Addendum (January 2015)                            northeast of Hartman Station Road            Leased Premises                    H.L. Wiker, Inc.                           Amendment to original lease; extension through $1,231 base rent
                                                                                                                                                                                               12/14

HL Wiker Propane Addendum (January 2016)                            northeast of Hartman Station Road            Leased Premises                    H.L. Wiker, Inc.                           Amendment to original lease; extension through   $0.015/gal + $1,268/mo base rent
                                                                                                                                                                                               01/17
HL Wiker Propane Addendum (January 2017)                            northeast of Hartman Station Road            Leased Premises                    H.L. Wiker, Inc.                           Amendment to original lease; extension through   $0.015/gal + $1,306/mo base rent
                                                                    Summers Yard, Rt. 272 & Garden Spot                                                                                        01/18
Lester R Summers Inc ‐ Ephrata (July 2015)                          Rd, Ephrata                                  Leased Premises                    Lester R. Summers                          07/15 ‐ 07/16; lease of parking space            $150/mo, $150 sec. deposit
Lyons Obetz (September 2009)                                        55 Doe Run Road Suite 104: The Building      Leased Premises                    Lyons & Obetz                              09/09 ‐ 09/10, option to extend                  $13,000/mo
Lyons Obetz Renewal (September 2013)                                55 Doe Run Road Building 2 Suite 104         Leased Premises                    Lyons & Obetz                              3 year renewal                                   $13,000/mo

Rineer Sons Real Estate Investments, LLC Renewal (June 2015)        902 Stasburg Pike, Strasburg, PA             Leased Premises                    Rineer Sons Real Estate Investments, LLC   06/15 ‐ 05/18                                    $3,300/mo

Rineer Sons Real Estate Investments, LLC Renewal (May 2011)         902 Stasburg Pike, Strasburg, PA             Leased Premises                    Rineer Sons Real Estate Investments, LLC   05/11 ‐ 05/13, extension through 05/30/15 $3,300/mo
                                                                    85 white oak road, "east side" of building
Crowe Realty LLC Amendment (January 2017)                           with 30,000 gal tank                         Leased premises; extension         Crowe Realty
                                                                    85 white oak road, "east side" of building   Leased Premises; terminate sept.
Crowe Realty LLC (October 2010)                                     with 30,000 gal tank                         2010 lease and re‐lease            Crowe Realty                               10/12 ‐ 10/13, 12 mo renewing                    $450/mo
Pitney Bowes Postage Meter (May 2012)                                                                            postage meter rental               Pitney Bowes                               receipts for meter rental, ended 05/2016
Biodiesel Blending Agreement ‐ Duck Island Terminal                 1463 Lamberton Road, Trenton, NJ             Terminal Agreement                 Duck Island Terminal, Inc.                 Blending of fuel                                 ‐‐‐

First Amendment (August 2016)                                       Amendment to 2016 Terminal agreement Terminal Agreement                         Arc Terminals Pennsylvania Holdings

Assignment of Agreement ‐ Plains to PBF Logistics (April 2016)                                                   Terminal Agreements;               Plains Products Terminals LLC              04/16 closing
August 2017 Price Update                                        All US locations                                 Reassignment
                                                                                                                 Terminal Price Change              Arc Terminal Holdings
Biodiesel ‐ Westmore Fuels ‐ Port Chester (October 2014)        2 Purdy Ave, Port Chester, NY                    Terminal Storage & Throughput      Westmore Fuel Co., Inc., Inc.,             Use of 20,000 gal AST                            $0.03 / gal
First Amendment to Storage and Marketing Agreement (March 2018) Pittsburgh & Indianola Terminals                 Terminal/Marketing Agreement       Buckeye Terminals, LLC                     Adding Pitts. & Ind. Locations to 10/12
                                                                85 white oak road, "east side" of building                                                                                     agrmt
Crowe Realty LLC (September 2010)                               with 30,000 gal tank                             Terminate rental lease, purchase   Crowe Realty                                                                                $32,500 for the tank
Amendment 1 to Throughput Agreement; AMG Biofuels               All PA Locations                                 Throughput Agreement               Gulf Oil LP                                01/17, pricing amendment                         .0035/gallon/gallon for heating oil, and/or 500 ppm diesel additized with lubricity
                                                                Swatara Township Dauphin County PA, Rt
                                                                412; Signet Ave., Hellertown, PA.; 2550
                                                                Trenton Ave. Williamsport, PA.; 390
Propane Throughput Agreement ‐ UGI Energy (May 2014)            Route 11, Hunlock, PA                            Throughput Agreement               UGI Energy Services, LLC                   05/14 ‐ 04/15; 4 locations for throughput        $0.035/gal
                                                                Swatara Township Dauphin County PA, Rt                                                                                         agreement
                                                                412; Signet Ave., Hellertown, PA.; 2550
                                                                Trenton Ave. Williamsport, PA.; 390
Propane Throughput Agreement ‐ UGI Energy (May 2015)            Route 11, Hunlock, PA                            Throughput Agreement               UGI Energy Services, LLC                   05/14 ‐ 04/16; 4 locations for throughput        $0.035/gal
                                                                Swatara Township Dauphin County PA, Rt                                                                                         agreement
                                                                412; Signet Ave., Hellertown, PA.; 2550
                                                                Trenton Ave. Williamsport, PA.; 390
Propane Throughput Agreement ‐ UGI Energy (May 2016)            Route 11, Hunlock, PA                            Throughput Agreement               UGI Energy Services, LLC                   05/16 ‐ 04/17; 4 locations for throughput        $0.035/gal
                                                                                                                                                                                               agreement
Propane Throughput Agreement ‐ UGI Energy (May 2017)                Steelton, Williamsport, Hunlock, Bethlehem   Throughput Agreement               UGI Energy Services, LLC                   06/17 ‐ 04/18; 4 locations for throughput        $0.035/gal
RF Ohl ‐ Lehighton (July 2014)                                      7505 Interchange Rd, Lehighton, PA           Throughput Agreement               RF Ohl Fuel Oil, Inc                       agreement
                                                                                                                                                                                               07/14  ‐ 06/17                                   $0.04/gal ‐ $0.05/gal
Storage Thruput Agreement Renewal ‐ IPT, LLC (January 2012)         140 American Oil Road, Rensselaer, NY        Throughput Agreement               IPT, LLC                                   01/12 ‐ 06/12                                    $0.007/gal
Storage Thruput Agreement Renewal ‐ IPT, LLC (July 2012)            140 American Oil Road, Rensselaer, NY        Throughput Agreement               IPT, LLC                                   07/12 ‐ 06/13                                    $0.007/gal
Storage Thruput Agreement Renewal ‐ IPT, LLC (November 2014)        140 American Oil Road, Rensselaer, NY        Throughput Agreement               IPT, LLC                                   11/14 ‐ 10/15                                    $0.00737/gal
Storage Thruput Agreement Renewal ‐ IPT, LLC (November 2016)        140 American Oil Road, Rensselaer, NY        Throughput Agreement               IPT, LLC                                   11/16 ‐ 10/17                                    $0.00756/gal
                                                      Case 18-13774-ref                          Doc 379               Filed 08/30/18 Entered 08/30/18 12:38:16                                                              Desc Main
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Storage Thruput Agreement Renewal ‐ IPT, LLC (November 2017)   140 American Oil Road, Rensselaer, NY          Throughput Agreement           IPT, LLC                                  11/17 ‐ 10/18                             $0.00765/gal

Sweetwater ‐ Ephrata (May 2015)                                Ephrata Terminal of Sweetwater Propane Throughput Agreement                   Sweetwater Propane, Inc.                  05/15 ‐ 04/16                             $0.01/gal
                                                               Mechanicsburg, Dupont, Altoona, S.
Terminal Agreement ‐ ARC Terminals (July 2016)                 Williamsport terminals                 Throughput Agreement                   Arc Terminals Pennsylvania Holdings LLC   07/16 ‐ 12/16; auto renew for (3) 3 month $0.03/gal
Terminal Agreement ‐ Plains Philadelphia South (May 2010)      6850 Essignton Ave, Philadelphia PA    Throughput Agreement                   Plains Products Terminals LLC             periods‐ 04/11, auto renew each month
                                                                                                                                                                                       05/10

Terminal Agreement ‐ PPC (February 2010)                       Sinking Spring, Highspire, Altoona terminals   Throughput Agreement           Petroleum Products Corp.                  02/10 ‐ 12‐10
                                                               Altoona, Baltimore, Belmont, Blawnox,
                                                               Delmont, Eagle Point, Exton, Kingston,                                        Sunoco Partners Marketing & Terminals, 12/14 ‐ ongoing unless terminated;
Terminal Agreement ‐ Sunoco Partners (November 2014)           Malvern, Manassas terminals                    Throughput Agreement           L.P.                                   appears to be terminated
                                                                                                                                                                                    08/15 ‐ 06/16; auto renew unless
Terminal Agreement ‐ Windsor Fuels (September 2015)            80 Windsor Ave, Mineola, NY                    Throughput Agreement           Windsor Fuel Co., Inc.                 terminated ‐ appears to be terminated $0.03/gal
                                                                                                                                                                                    08/05 ‐ 07/06, auto renew unless
Throughput Agreement ‐ Lucknow‐Highspire (August 2005)         many PA terminals                              Throughput Agreement           Lucknow‐Highspire Terminals Corp. terminated ‐ appears to be terminated
Thruput Agreement ‐ Fred Schildwachter Sons (October 2015)     1400 Ferris Place, Bronx, NY                   Throughput Agreement           Fred M. Schildwachter & Sons, Inc.     10/15 ‐ ongoing unless terminated
Thruput Agreement ‐ Fred Schildwachter Sons (September 2014)   1401 Ferris Place, Bronx, NY                   Throughput Agreement           Fred M. Schildwachter & Sons, Inc.     09/14 ‐ 09/15
Throughput Amendment ‐ Lucknow‐Highspire (March 2010)          many PA terminals                              Throughput Agreement ‐ Price   Lucknow‐Highspire Terminals Corp. amendment to 08/05 contract                additional $0.001/gal
                                                                                                              AmendmentAgreement ‐ Price
                                                                                                              Throughput
Throughput Amendment ‐ Lucknow‐Highspire (October 2008)        many PA terminals                              Amendment                      Lucknow‐Highspire Terminals Corp.          Allows customer to pull winterized       $0.0325/gal for each gal with winter additive
                                                                                                              Throughput Agreement ‐ Price                                              distillates
Throughput Amendment ‐ Lucknow‐Highspire (October 2011)        many PA terminals                              Amendment                      Lucknow‐Highspire Terminals Corp.          adjusting fee for winter additive        $0.0230/gal
                                                                                                                                                                                       Descriptions of new rent payments
Updated Lease Amounts ‐ 2017                                   318 North Elmer Ave, Sayre PA                  Updated Rent                   W&O                                       ‐ goes until 2017/2018 year               $2,206.67/mo
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                                       Schedule 2.1(c)

                                          Inventory


Fuel inventory, wherever located as follows:

Tank and Bulk Fuel Inventory    424,593.03 gallons
Truck Fuel Inventory             44,191.00 gallons
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                                      Schedule 2.1(e)

                                 Tangible Personal Property

Storage and Skid Tanks

   •   2 X 300,000 Gallon AST- Across from 85 White Oak Road, Manheim, PA (Tank and
       land OWNED)
   •   10,000 Gallon UST - Across from 85 White Oak Road, Manheim, PA (Tank and land
       OWNED)
   •   20,000 Gallon UST - 24 New Charlotte St, Manheim, PA (Tank and land OWNED)
   •   4 X 20,000 Gallon UST & 5 X 30,000 Gallon UST - 902 Strasburg Pike (tanks owned
       but on LEASED site)
   •   UST - 709 Hartman Station Road (underground tank and site LEASED)
           o 2, 30,000 gallon above ground propane storage tanks owned by Worley & Obetz
   •   1.35 million Gallon AST - 3251 Trewigtown Road, Colmar, PA (tank and site LEASED)
   •   1974 Riley Beard 30,000 Gallon Propane Tank (AST) and Highland 30,000 Gallon
       Propane Tank (AST) located at 16 Lititz Rd., Lititz, PA 17543 (tank owned but on
       LEASED property)
   •   1971 Trinity 30,000 Gallon Propane Tank located at 2388 N. Market St.,
       Elizabethtown, PA (tank owned but on leased property)
   •   500 gallon and (5) 300 gallon skid tanks at High Concrete in Denver, PA (tanks
       owned but on customer site, W&O rights subject to customer negotiation)
   •   (Above) (3) 10,000 gallon petrolum tanks, (Above) (1) 15,000 gallon petroleum tank, (A
       bove) (1) 2,500 gallon DEF tank, 318 N. Elmer Ave., Sayre, PA (tanks owned but in
       lease site)
   •   6,500 Gallon diesel exhaust fluid storage tank, 85 White Oak Road, Manheim, PA
   •   Customer Tanks owned by Worley & Obetz, Inc., 4000 tanks (count estimated not
       confirmed, certain tanks have been removed and location is now not known)
   •   Certain Storage Tanks New and replaced propane tanks for customer locations are stored
       at 35 Doe Run Road, Manheim, PA
           o Customer tanks owned by Worley & Obetz, Inc. Customer tanks are owned by the
               company and customers–pricing of product depends on tank ownership and
               contract terms
   •   Miscellaneous truck parts and maintenance equipment
   •   Propane tank parts and installation equipment in 85 White Oak Road warehouse and
       in/on any trucks
   •   HVAC service equipment, parts and sundry inventory stored at 85 White Oak Road, Man
       heim, PA
   •   Other related assets used in the business operations of Worley & Obetz, Inc.'s Retail
       division
   •   Other related assets used in business operations of W&O Propane Division
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      •     Other related assets used in the business operations of W&O Inc,'s Service
            and Installation division
  •       Other related assets used in the business operations of W&O's Value Energy North
          Division (Sayre)
  •       Other related assets used in the business operations of W&O's Value Energy South
          Division
  •       Other related assets used in business operations of AMG propane, Wholesale division
  •       Other related assets used in the business operations of W&O Fleet Fueling Division
  •       Other related assets used in business operations of W&O's Wholesale Division
  •       Other related assets used in business operations of AMG Renewables Division
  •       Other related assets used in the business operations of AMG's Petroleum division
  •       Other related assets used in business operations of AMG's Electricity Supply and
          Brokerage Division (subject to contract calculations and regulatory controls and
          restrictions)
  •       Other related assets used in the business operations of AMG Natural Gas division
          (subject to contract calculations and regulatory controls and restrictions)
  •       Other Property, Maintenance Equipment (Lawn tractors, trimmers, etc.) on site
  •       Related assets including parts, inventory, supplies, furniture/fixtures, tools, equipment,
          etc.

The items listed above do not include previously sold assets, expired or cancelled leases, and expired or
rescinded permits or licenses.

Note that owned or leased tanks are subject to terms of lease and may require removal or abandonment.
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                                           Schedule 2.1(f)

                                              Permits



  AMERIGREEN ENERGY INC
  LIST OF STATE LICENSES

                                                                  Number
  Electricity Supplier

  Pennsylvania Public Utility Commission                      A-2014-2451720
  State of New York Department of Public Service

  Electricity Brokerage

  State of Delaware Public Service Commission
  State of Illinois Commerce Commission
  Commonwealth of Massachusetts Department of Public Utilities EB-442
  State of Maryland Public Service Commission                 IR-3568
  State of New Jersey                                         PA-0165 Private Aggreg
                                                             EA-0318   Energy Agent
                                                             EC-0101   Energy Consuls
  Public Utilities Commission of the State of Ohio         18-1304E(1)
  Public Utility Commission of Texas

   Natural Gas Supplier
Commonwealth of Massachusetts Department of Public                RA-205
Utilities
State  of Maryland Public Service Commission                      IR-3569
State of New Jersey                                              GSL-0124
Pennsylvania Public Utility                                  A-2014-2451710
Commission                                                   Brooklyn Union Gas Service Territory - National
State of New York Department of Public
Service                                                      Grid NY
                                                             Keyspan Gas East Service Territory - National Grid
                                                             Orange & Rockland Utilities
                                                             range & Rockland
                                                             Consolidated EdisonUtilities
                                                                                 Company
                                                             Consolidated Edison Company
  Natural Gas Brokerage

  Public Utilities Commission of the State of Ohio               18-651G(1)

  Note: Transferability of the above licenses is subject to the rules of each state's
  utility commission. Some or all of the licenses may be non-transferrable and so
  reapplication to the state commission would be necessary for the buyer.
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                                             Schedule 2.1(g)

                                       Intellectual Property Rights


All Intellectual Property including:

Patents, patent applications, patent rights, patent disclosures and inventions (whether or not
patentable or reduced to practice)

Trademarks (registered and at common law), trademark registrations and applications, trade
names, logos, trade dress, brand names, service marks (registered and at common law),
service mark registrations and applications, websites, domain names and other indicia of
source and all goodwill associated therewith

Works of authorship, copyrights, copyright registrations and applications for registration, and
moral rights

Know‐how, trade secrets, customer lists (including all wholesale, retail and commercial
customer account lists, whether active or inactive including complete contact information),
proprietary information, proprietary processes and formulas, databases and data
collections

All source and object code, software (including front and back office software, customer
management and fuel management systems, accounting and billing systems, POS inventory
systems and fleet management systems), algorithms, architecture, structure, display screens,
layouts, inventions and development tools


All documentation and media constituting, describing or relating to the above, including,
manuals, memoranda and records.
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                                           Schedule 2.1(h)

                                              Vehicles


No.       VIN                       Year   Make              Title Number        Owner
 12       1FT7W2BT0BEA54209         2011   FORD              68788426801 WO      Worley and Obetz
 13       1FTYR2CV6GKA85114         2016   FORD              75952610401 WO      Worley and Obetz
 14       JL6BNG1A3CK004246         2012   MITSUBISHI        70777185402 WO      Worley and Obetz
 15       3GNAXUEU8JS563348         2018   CHEVORLET         78444261701WO       Worley and Obetz
 16       3C6TRVCD2EE123187         2014   RAM               74203430601 WO      Worley and Obetz
 17       1C4RJFBM7EC310160         2014   JEEP              72720870601 WO      Worley and Obetz
 18       3C6UR5NJ6HG547522         2017   DODGE             76794490101WO       Worley and Obetz
 19       1J4GL48555W600525         2005   JEEP              61677819901WO       Worley and Obetz
 20       WD0PE745085304790         2008   DODGE             67277253401 WO      Worley and Obetz
 21       1FTRX18L11NA30958         2001   FORD              56181080502 WO      Worley and Obetz
 22       1XPFDB9X61N566239         2001   PETERBILT         55580038902 WO      Worley and Obetz
 27       3BPNHD7X8WF462096         1998   PETERBILT         51600545903 WO      Worley and Obetz
 28       1XP5DB9X54N831880         2004   PETERBILT         60382629901 WO      Worley and Obetz
 29       1FT7W2B60FEC47217         2015   FORD              74330826401WO       Worley and Obetz
 30       1FDWF36L2XED91611         1999   FORD              53376098902 WO      Worley and Obetz
 32       1XP5D89X63N595660         2003   PETERBILT         58192412001 WO      Worley and Obetz
 34       1XP5DB9X35N855225         2005   PETERBILT         61317391401 WO      Worley and Obetz
 35       1XPFDU9X31N555808         2001   PETERBILT         54973076102 WO      Worley and Obetz
 36       1FTHE2423VHB77033         1997   FORD              51018722301 WO      Worley and Obetz
 37       1FTSE3EL2BDA48285         2011   FORD              69232776001WO       Worley and Obetz
 40       1FTSE3EL6BDA48287         2011   FORD              69232744101WO       Worley and Obetz
 41       WA1LMAFEXFD024148         2015   AUDI              75035448401WO       Worley and Obetz
 42       1XPFDB9X01N561652         2001   PETERBILT         55424371002WO       Worley and Obetz
 43       1C6RR7VM1FS612732         2015   DODGE RAM                             Worley and Obetz
                                           1500
 44       1HTMKADN62H511291         2002   INTERNATIONA      56486648301WO       Worley and Obetz
 45       1XP5DB9X91N558325         2001   LPETERBILT        56577248101WO       Worley and Obetz
 46       2NPNHD7X02M575044         2002    PETERBILT        56948005901WO       Worley and Obetz
 47       1C6RR7PM9FS575152         2015    RAM              74270937001WO       Worley and Obetz
 48       1FMSU45P63E866794         2003    FORD             59770667603WO       Worley and Obetz
 49       1XPWD49X2AD106075         2010    PETERBILT        67517054001WO       Worley and Obetz
 50       1XPFDU9X7XN504479         1999    PETERBILT        53197517402WO       Worley and Obetz
 51       2NPNHD7X11M561653         2001    PETERBILT        55673141402WO       Worley and Obetz
 52       2NP3LJ9X3FM304907         2015    PETERBILT        NO TITLE            Worley and Obetz
 53       1FTSE3EL4BDA48286         2011    FORD             69232764001WO       Worley and Obetz
 54       3C6TRVCD4EE123627         2014    RAM              74210863501WO       Worley and Obetz
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55       1D7HW48P27S144647         2007   DODGE            64307456601WO        Worley and Obetz
56       1FVHCYDJ86HW08598         2006   FREIGHTLINER     63012924701WO        Worley and Obetz
57       1C4RJFBM3FC716633         2015   JEEP             74852155101WO        Worley and Obetz
58       1FDXF46F82EB61326         2002   FORD             56984961001WO        Worley and Obetz
59       1XKW080X32J888526         2002   KENWORTH         58635449002 WO       Worley & Obetz
60       2NP2HN7X1DM186103         2013   PETERBILT        71314854701WO        Inc.
                                                                                Worley and Obetz
61       1GTHG39R921142233         2002   GMC              57070161501WO        Worley and Obetz
62       1C4RJFBM0EC310159         2014   JEEP             72720918701WO        Worley and Obetz
63       2NP2HN7X8DM179505         2013   PETERBILT        70803428701WO        Worley and Obetz
64       IXPWD49X4AD106076         2010   PETERBILT        67517345701WO        Worley and Obetz
65       IFDSF35S33EB39739         2003   FORD             58490271901WO        Worley and Obetz
66       1GYFK66878R167767         2008   CADILLAC         692732013802WO       Worley and Obetz
67       1FTYR2CVPGKA44573         2016   FORD             75792339501WO        Worley and Obetz
68       1M2AX07CPJM039692         2018   MACK             NO TITLE             Worley and Obetz
69       1M2AX07C0JM039693         2018   MACK             NO TITLE             Worley and Obetz
70       1FVHCYBS4BDAU7722         2011   FREIGHTLINER     69142353401WO        Worley and Obetz
72       WD0PD644565949677         2006   DODGE            63775825201WO        Worley and Obetz
73       1M1AA14Y4TW061280         1996   MACK             49589413002          Worley & Obetz
74       2NPLHD7X77M685006         2007   PETERBILT        63478910401WO        Inc.
                                                                                Worley and Obetz
75       NO VIN                           ELEC.            NO TITLE             Worley and Obetz
                                          MOTORCYCLE
76       1XPHD49XXAD795405         2010   PETERBILT        67888559401WO        Worley and Obetz
78       1XP5DB9X37N668876         2007   PETERBILT        63693353701WO
79       1FTSE3EL0BDA48284         2011   FORD             69232734701WO        Worley and Obetz
80       1FTFW1EF6DKD33776         2013   FORD             71546038401WO        Worley and Obetz
81       2NP3LJ9X4FM305239         2015   PETERBILT        NO TITLE             Worley and Obetz
82       VG6BAO9B1YB702396         2000   MACK             55029873603WO        Worley and Obetz
83       2NPLHN7X68M764366         2008   PETERBILT        65782090601WO        Worley and Obetz
84       2NP2HJ7X6HM409346         2017   PETERBILT        NO TITLE             Worley and Obetz
85       2NP2HJ7X4HM409345         2017   PETERBILT        NO TITLE             Worley and Obetz
86       1FMCU9EG3AKC81708         2010   FORD             68342709702WO        Worley and Obetz
87       1G1P75SZ6F7255795         2015   CHEVROLET        75664528001WO        Worley and Obetz
88       WVGEP9BP4DD001050         2013   VOLKSWAGEN       71794005201WO        Worley and Obetz
89       3C6TRVCD4EE123630         2014   RAM              74265170601WO        Worley and Obetz
90       WDOPE745285285613         2008   DODGE            66539537701WO        Worley and Obetz
91       WDOPE745485304789         2008   DODGE            67277246801WO        Worley and Obetz
92       1FTFW1ET5DKD12407         2013   FORD             73149607901WO        Worley and Obetz
93       1HTSG0005YH270796         2000   INTERNATIONA     56829277002 WO       Worley and Obetz
94       WD2PD444755724901         2005   LDODGE           61483617101 WO       Inc.
                                                                                Worley and Obetz
96       2NPLLZ9X87M693284         2007    PETERBILT       64553232301 WO       Inc.
                                                                                Worley and Obetz
97       1FMCU9GX1GUB28917         2016    FORD            75433916901 WO       Inc.
                                                                                Worley and Obetz
                                                                                Inc.
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 98       1FMCU9GX7GUB29571         2016   FORD             75582927001 WO       Worley and Obetz
 99       1FTWE1EG1FFC83210         2015   FORD             75399456001 WO       Inc.
                                                                                 Worley and Obetz
100       1FM5K8B83GGA41933         2016   FORD             75273144201 WO       Inc.
                                                                                 Worley and Obetz
101       1NPALU0X26N884964         2006   PETERBILT        62703692302 WO       Inc.
                                                                                 Worley and Obetz
102       2NPLHD7X85M865253         2005   PETERBILT        62473459802 WO       Inc.
                                                                                 Worley and Obetz
103       1FVX6EDBXYLF06572         2000   FREIGHTLINER     55898071602 WO       Inc.
                                                                                 Worley and Obetz
104       1FVX6EDBXXLA19161         1999   FREIGHTLINER     52853903802 WO       Inc.
                                                                                 Worley and Obetz
105       5HTAB4327V7H61284         1997   HEIL             56081085301 WO       Inc.
                                                                                 Worley and Obetz
105       1XP5DB9X5SN360410         1995   PETERBILT        47548035703 WO       Worley and Obetz
106       1C4RJFBM3FC100429         2015   JEEP             75612762501 WO       Inc.
                                                                                 Worley and Obetz
107       1XP9DB9X9GP202830         1986   PETERBILT        44093177703 WO       Inc.
                                                                                 Worley and Obetz
108       1HTAA1954EHA14441         1984   INTERNATIONA     35726181702 WO       Inc.
                                                                                 Worley and Obetz
109       3BPNHD7X1WF469035         1998   LPETERBILT       51992584702 WO       Inc.
                                                                                 Worley and Obetz
110       1XP5DB9X5VN387532         1997    PETERBILT       49949115005 WO       Inc.
                                                                                 Worley and Obetz
111       1FTYR2CV4GKA44576         2016    FORD            75792086001 WO       Inc.
                                                                                 Worley and Obetz
112       1FMCU9GD4HUAD8472         2017    FORD            76235998701 WO       Inc.
                                                                                 Worley and Obetz
113       2NP2HJ7X4EM241542         2014    PETERBILT       72894625201 WO       Inc.
                                                                                 Worley and Obetz
114       3C6TRVCD8EE123629         2014    RAM             74210911301 WO       Inc.
                                                                                 Worley and Obetz
115       WD0PE745185236936         2008    DODGE           65723947901 WO       Worley and Obetz
116       4P5L62023H3023913         2017    PJ              77569596501 WO       Inc.
                                                                                 Worley and Obetz
117       1FTSE3EL88DA48288         2011    FORD            69232721401 WO       Worley and Obetz
118       1GCHG35RXY1237737         2000    CHEVROLET       5529365002 WO        Inc.
                                                                                 Worley and Obetz
119       1EMCU9GD1HUD24122         2017    FORD            77329876701WO        Inc.
                                                                                 Worley & Obetz
120       2NPRLNDX29M788250         2009    PETERBILT       66729081001 WO       Inc.
                                                                                 Worley and Obetz
121       MOXUVGF080476             2010    JOHN DEERE      NO TITLE             Inc.
                                                                                 Worley and Obetz
122       1HLA3A7B7C7H52109         1982    HEIL TRAILER    34426880502WO        Worley and Obetz
123       1FTZW2B61EEA27387         2014    FORD            72791138801 WO       Worley and Obetz
125       3BPNHD7X2WF469030         1998    PETERBILT       51992583402 WO       Inc.
126       1HTWNAZT47J381180         2007    INTERNATIONA    65087359301 WO
127       1FTPW14VW8FA68467         2008    LFORD           66211444701WO        Worley and Obetz
128       5HTAB432X37H67271         2003     HEIL           58753659601 WO       Inc.
                                                                                 Worley and Obetz
129       SHTAB432XB7H73398         2008     HEIL           65351351201 WO       Worley and Obetz
130       1E9BE26217E353763         2007     HAUL MASTER    65812309101 WO       Inc.
                                                                                 Worley and Obetz
131       1C4RJFBM0FC767149         2015     JEEP           74433593401 WO       Worley and Obetz
132       5HTAB432X37H66816         2003     HEIL           58203491301 WO       Worley and Obetz
133       1G1FW6S08H4160004         2017     CHEVROLET      78013622002 WO       Worley and Obetz
134       5HTAB4426V7H61033         1997     HEIL           50307539102 WO       Worley and Obetz
135       1FVHCYBS9BDAU7893         2011     FREIGHTLINER   69142337601 WO       Worley and Obetz
136       2NP2HJ7XXEM241562         2014     PETERBILT      73264201601 WO       Worley and Obetz
137       1HTSCABM2TH302663         1996     INTERNATIONA   49525537504 WO       Worley and Obetz
                                             L
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138       1FV6HFAA1SL629057         1995   FREIGHTLINER     48237495903 WO       Worley and Obetz
139       1HTSDAAN11H336467         2001   INTERNATIONA     57939742903 WO       Worley and Obetz
140       1NPSL09X3BD116491         2011   LPETERBILT       69456295001 WO       Worley and Obetz
141       2NP3LN0X2AM109116         2010    PETERBILT       67917155001 WO       Worley and Obetz
142       5HTAB442617H65058         2001    HEIL TRAILER    55597383902WO        Worley and Obetz
143       1NPNHD7X7XS480327         1999    PETERBILT       53986157903 WO       Worley and Obetz
144       1XPADU9X46N888486         2006    PETERBILT       63019821202 WO       Worley and Obetz
145       4J8T043241T003802         2001    FRUEHAUF        56534358501WO        Worley and Obetz
146       1FMCU9DG4AKC62912         2010    FORD            68326455601 WO       Worley and Obetz
147       1FDAF5HR6AEB09808         2010    FORD            68384531301 WO       Worley and Obetz
148       1FMCU9GX6GUA90133         2016    FORD            75272996101WO        Worley and Obetz
149       5HTAB4322A7H75099         2010    HEIL            67797830601 WO       Worley and Obetz
150       5HTAB4425X7H63066         1999    HEIL TRAILER    53156123502WO        Worley and Obetz
153       1XPWD49X1CD142620         2012    PETERBILT       69935640201 WO       Worley and Obetz
154       1XPWD49X5CD142619         2012    PETERBILT       69935772801 WO       Worley and Obetz
155       1FMCU9GX3GUA80448         2016    FORD            75273120201 WO       Worley and Obetz
156       1XPWDB9XXBD117508         2011    PETERBILT       69065086501 WO       Worley and Obetz
157       1HLA3A7F6S7H58050         1995    HEIL            47727448204 WO       Worley and Obetz
158       1NPSL09X1BD116490         2011    PETERBILT       69733761001 WO       Worley and Obetz
159       1GRAA9623HB117611         1987    GREAT DANE      39351608402 WO       Worley and Obetz
160       1FMCU9G9GUB19214          2016    FORD            75433844001WO        Worley and Obetz
161       2NP3MN9XXCM160398         2012    PETERBILT       70123258301 WO       Worley and Obetz
162       1FUJGPDR3CDBJ6237         2012    FREIGHTLINER    69987532601 WO       Worley and Obetz
163       1FUJGPDR5CDBJ6238         2012    FREIGHTLINER    69987533901 WO       Worley and Obetz
164       5HTAB4320A7H75098         2010    HEIL            NO TITLE             Worley and Obetz
165       1FUJGPDR7CDBJ6239         2012    FREIGHTLINER    69987534101 WO       Worley and Obetz
166       5HTAB4320C7H76108         2012    HEIL            69991663001 WO       Worley and Obetz
167       5HTAB4322C7H76109         2012    HEIL            69991672201 WO       Worley and Obetz
168       2H9AECHF1CT002331         2012    HUTCHINSON      70224961901 WO       Worley and Obetz
169       5HTAB432757H68770         2005    HEIL            61758082201 WO       Worley and Obetz
170       2H9AECHF2CT002332         2012    HUTCHINSON      70224948901 WO       Worley and Obetz
171       2HDAECHF5CT002333         2012    HUTCHINSON      70290507501 WO       Worley and Obetz
172       SW136084PA                        SP CONSTR       54136084201 MC       Worley and Obetz
173       5HTAB4421V7H60873         1997    HEIL TRAILER    49932174302WO        Worley and Obetz
174       1C4RJFBM4FC677289         2015    JEEP            74852203001WO        Worley and Obetz
175       5NHUCCV265N044399         2005    CONTINENTAL     70153771001 WO       Worley and Obetz
176       5HTAB432877H71728         2007    HEIL            63872821701 WO       Worley and Obetz
177       NO VIN NUMBER             NO      HYSTER          NO TITLE             Worley and Obetz
178       5HTAB432X77H71729         YEAR
                                    2007    HEIL            63950336501 WO       Worley and Obetz
179       1XPWD49X3CD142621         2012    PETERBILT       71183409401 WO       Worley and Obetz
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180       1HLA3A7FXR7H57204         1994   HEIL             46504276603 WO       Worley and Obetz
181       3C6JR7ET6EG127240         2014   RAM              72942113701 WO       Worley and Obetz
182       3GNAXUFU8JS545903         2018   CHEVROLET        78342947301WO        Worley and Obetz
183       5HTAB4420T7H59159         1996   HEIL             49069392604 WO       Worley and Obetz
184       1HLA3A7F7S7H58901         1995   HEIL             48152551403 WO       Worley and Obetz
185       1FMCU9GDSHUD24124         2017   FORD             77369538201 WO       Worley and Obetz
186       1FDUFSHT4DEB54033         2013   FORD             72373570401 WO       Worley and Obetz
187       1XPWDP9X2ED236428         2014   PETERBILT        NO TITLE             Worley and Obetz
188       1XPWDP9X5ED238464         2014   PETERBILT        NO TITLE             Worley and Obetz
189       3AKJGND10EDFT8496         2014   FREIGHTLINER     NO TITLE             Worley and Obetz
190       5HTAB4329E7H79298         2014   HEIL             NO TITLE             Worley and Obetz
191       5HTAB4320E7H79299         2014   HEIL             No Title             Worley and Obetz
192       5HTAB4321E7H79456         2014   HEIL             No Title             Worley and Obetz
193       4P5B61829E3008905         2014   PJ               75532623101 WO       Worley and Obetz
194       1TC950RGJET020007         2014   John Deere       No Title             Worley and Obetz
195       5HTAM4529C7H76423         2012   HEIL             73869848403 WO       Worley and Obetz
196       5HTAM4520C7H76424         2012   HEIL             73869841503 WO       Inc.
                                                                                 Worley and Obetz
197       1GCGG25V271107808         2007   CHEVROLET        63782279004 WO       Inc.
                                                                                 Worley and Obetz
199       1GCHG35U741242800         2004   CHEVROLET        68743200203 WO       Worley and Obetz
200       4U01C12122A011119         2002   CARGO            58069425203 WO       Inc.
                                                                                 Worley and Obetz
                                           FORD F-350                            Inc.
                                                                                 Worley and Obetz
202       1FD8X3H67JEB66427         2018   SUPERCAB                              Inc.
                                           FORD F-350                            Worley and Obetz
203       1FD8X3H67JEB66428         2018   SUPERCAB                              Inc.
205       4V1VDBPE3SN705034         1995   WHITE GMC        55195556402 WO       Worley and Obetz
206       4V4JDBGF1TR839058         1996   VOLVO            48737802203 WO       Worley and Obetz
207       4V4JDBCF4TR839071         1996   VOLVO            48737964103 WO       Worley and Obetz
208       1FV6HFBA8SL648719         1995   FREIGHTLINER     62043060502 WO       Worley and Obetz
209       4VG7DARJEWN755084         1998   VOLVO            62085849902 WO       Worley and Obetz
210       4VG7DARJXXN786608         1999   VOLVO            62420958802 WO       Worley and Obetz
211       4V4ND2RH2YN241933         2000   VOLVO            62576648902 WO       Worley and Obetz
213       4V4ND2RH4YN796107         2000   VOLVO            62735668102 WO       Worley and Obetz
214       4V4ND2RH0YN796105         2000   VOLVO            62735727702 WO       Worley and Obetz
215       4V4ND2RH2YN796106         2000   VOLVO            62793843202 WO       Worley and Obetz
216       1FTYR2CM5GKB30230         2016   FORD             76328540001 WO       Worley and Obetz
217       4VG7DARH6XN778423         1999   VOLVO            63420746202 QO       Worley and Obetz
218       1FUJGEDR4HLHZ7414         2017   FREIGHTLINER     NO TITLE             Worley and Obetz
219       1FUJGEDR6HLHZ7415         2017   FREIGHTLINER     NO TITLE             Worley and Obetz
220       1M1AW07Y8HM08228          2017   MACK             NO TITLE             Worley and Obetz
221       6
          1W9P14323GM350051         2016   WESTMOR          NO TITLE             Worley and Obetz
222       UNT007703                 1980   FRUEHAUF         50961419002 WO       Worley and Obetz
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 223       1PMA24321V5001229         1997   POLAR              61742294302 WO     Worley and Obetz
 224       5HTAB4320H7081972         2017   HEIL               NO TITLE           Worley and Obetz
 225       10BEA9236HF0D4608         2016   BEALL TRAILER      NO TITLE           Worley and Obetz
 227       1ETYR2CM4HKB43259         2017   FORD               NO TITLE           Worley and Obetz
 228       1XPCD49X1KD261365         2019   PETERBILT 567                         Worley and Obetz
 229       1XPCD49X3KD261366         2019   PETERBILT 567                         Worley and Obetz
 238       5HTSA4323K7601502         2019   HEIL TANK                             Worley and Obetz
                                            TRAILER
 239       5HTSA4323K7601503         2019   HEIL TANK                             Worley and Obetz
                                            TRAILER
 242       2HSCEAPR45C029758         2005   INTERNATIONA       60848603302WO      Worley and Obetz
 243       3AKJGND12GDGX3465         2016   LFREIGHTLINER      NO TITLE           Worley and Obetz
 244       1C4RJFBM8FC796401         2015    JEEP              74852303601WO      Worley and Obetz
 245       1FTNM21P03EB6036          2003    FORD              72123328002WO      Worley and Obetz
 246       1B7KM2688LS711430         1990    DODGE             42932918707WO      Worley and Obetz
 248       5HTAM452477L72688         2007    HEIL TRAILER      75741011601WO      Worley and Obetz
 249       1GB0GRFG5G1309296         2016    CHEVROLET         77945784602WO      Worley and Obetz
 252       HW13929                   1979    DORSEY            56022290603WO      Worley and Obetz
 253       1TKC02421HM038953         1987    TRAILER
                                             TRAIL KING        69539336302WO      Worley and Obetz
 254       1FDWE3FL2DDA85254         2013    FORD              72476003402WO      Worley and Obetz
 255       1FUJGED57GLGX4492         2016    FREIGHTLINER      NO TITLE           Worley and Obetz
 256       1FUJGED57GLGX4493         2016    FREIGHTLINER      NO TITLE           Worley and Obetz
 257       5HTAB4321F7H80771         2015    HEIL TRAILER      NO TITLE           Worley and Obetz
 258       5HTAB4323F7H80772         2015    HEIL TRAILER      NO TITLE           Worley and Obetz
 259       5HTAB4325F7H80773         2015    HEIIL TANK        NO TITLE           Worley and Obetz
                                             TRAILER
 260       2HSFHASRXXC031142         1999    INTL              52742318001 SH     Worley and Obetz
 261       2HSCHAER32C238246         2002    INTL              56915409002 SH     Inc.
                                                                                  Worley and Obetz
 262       2HSCHAPR37C432012         2007    INTL              68890883001 SH     Inc.
                                                                                  Worley and Obetz
 263       3HSCUAPR0AN243190         2010    INTERNATIONA      67651633902 SH     Inc.
                                                                                  Worley and Obetz
 264       3HSDMAPR6FN572598         2015    LINTERNATIONA     74271227001 MY     Inc.
                                                                                  Worley and Obetz
 265       2HSCZAPR7AC168576         2010     LINTERNATIONA    66843032002 MY     Inc.
                                                                                  Worley and Obetz
 266       3HSCXAPR5GN276413         2016      LINTERNATIONA   76327313201 MY     Inc.
                                                                                  Worley and Obetz
 270       5HTAM442517H64994         2001       LHEIL          66738761801 SH     Inc.
                                                                                  Worley and Obetz
 271       5HTAM432227H66690         2002        HEIL          67785277301 SH     Inc.
                                                                                  Worley and Obetz
 272       5HTAM432027H66686         2002        HEIL          68367796301 SH     Inc.
                                                                                  Worley and Obetz
 273       5HTAM4527C7H76517         2012        HEIL          70246154501 SH     Inc.
                                                                                  Worley and Obetz
 274       5HTAM4524D7H77691         2013        HEIL          71470522501 SH     Inc.
                                                                                  Worley and Obetz
 275       5HTAM4525E7H79273         2014        HEIL          72444974001 SH     Inc.
                                                                                  Worley and Obetz
 276       5HTAB452317H64593         2001        HEIL          73438147002 SH     Inc.
                                                                                  Worley and Obetz
TRK-11     1FTYR2CV2GKA44575         2016        FORD          75792386001 WO     Inc.
                                                                                  Worley and Obetz
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 TRK-24       2NPLHD7X57M685005         2007   PETERBILT           63478937201 WO          Worley and Obetz
 TRK-25       1FTYR2CV0GKA44574         2016   FORD                75792237301 WO          Worley and Obetz
 TRK-26       2NPLHD7X27M698200         2007   PETERBILT           63737176601 WO          Worley and Obetz
 TRK-31       WD0PE745X85236935         2008   DODGE               65729840301 WO          Worley and Obetz
TRL-124       1FTFX1EF4GFB61435         2016   FORD                76328568101 WO          Worley and Obetz
              1GRAA902XCB062401         1982   GREAT DANE          58476978902WO           Worley and Obetz
                                               TRLR
              BB5142692                 1932   FORD                36614733802             Worley & Obetz
    95        SALGS2RK2JA383212         2018   LAND ROVER          78895829001WO           Inc.
                                                                                           Worley & Obetz
   V-1        1C4RJFBMXFC112982         2015   JEEP                75819713601AM           Inc.
                                                                                           AMERIGreen
   V-2        1FMCU9GX5GUA48830         2016   FORD                75695910401AM           AMERIGreen
   V-3        1J4PR4GK8AC108380         2010   JEEP                71951298802AM           AMERIGreen
   V-4        1FMCU9G96GUC49962         2016   FORD                75829655501AM           AMERIGreen
   V-6        1J4PR4GK4AC143515         2010   JEEP                72003492303AM           AMERIGreen
   V-7        1C4RJFCM8EC384850         2014   JEEP                73330270501AM           AMERIGreen
   V-9        1C4RJFBM5EC315793         2014   JEEP                74598477602AM           AMERIGreen
  V-10        3FRNF6FC1BV411137         2011   FORD                76340525901AM           AMERIGreen
  V-11        1GNSKCKC8FR505906         2015   CHEVROLET           75966360001AM           AMERIGreen
  V-12        1C4RJFBM2EC521444         2014   JEEP                77909543502AM           AMERIGreen
                                               FREIGHTLINER        TRUCK FOR
   500        1FV6HJBAXXHA93594         1999   F70                 AVONDALE                AMG Propane
                                                                   TRANSLOADER
    501 431FS2529X1000515          1999        CROSS COUNTRY TRAILER TRAILER FOR AVONDALE TRANSLOADER AMG Propane
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                                         Schedule 2.2(f)
                           Wo-Go Stations Tangible Personal Property
WOGO & PACIFIC PRIDE DIVISIONS

Description

Retail fueling stations (unmanned) for use by customers who have cards that are on the
respective networks.

Main office operations were from 202 Greenfield Road, Lancaster, PA (NO LONGER AVAILABLE)

Leases Included:      1634 W. Main St, Ephrata, PA (Charles Rutt)
                      101 E. Cherry St, Elizabethtown, PA (Lime Ridge Farm)
                      854 S. 16th St, Harrisburg, PA (Scheler Realty)

Includes Franchise Agreement with Pacific Pride Services, LLC

Locations:            Manheim WoGo - 35 Doe Run Road, Manheim, PA (LEASED)
                      Lititz WoGo - 746 Rothsville Road, Lititz, PA (OWNED)
                      Ephrata WoGo/Pacific Pride - 1634 West Main Street, Ephrata, PA
                      (LEASED)
                      Greenfield WoGo/Pacific Pride - 202 Greenfield Road, Lancaster, PA
                      (LEASED)
                      Mount Joy Pacific Pride - 30 Orchard Road, Mount Joy, PA (OWNED)
                      Elizabethtown Pacific Pride - 101 East Cherry Street, Elizabethtown, PA
                      (LEASED)
                      Harrisburg WoGo - 854 South 16th Street, Harrisburg, PA (LEASED)

All pumps, tanks and other equipment utilized in the operations of the Cardlock divisions,
including remaining fuel inventory

Access to applicable Cardlock software systems for customer information

Trucks:

              No.                             Description                               VIN

               23   2014    RAM PROMASTER          WOGO OPS VAN         3C6TRVCD6EE123628
              151   2002    DODGE VAN              WOGO OPS VAN - SPARE 2B7JB21Y92K110755


Any and all Intellectual Property relating to Wo-Go.
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                                         Schedule 3.5

                                     Required Consents


The following agreements require written consent:
   1. Lease Agreement between Worley & Obetz, Inc. and 202 Greenfield LP dated August 30,
       2013
   2. DEP Grant Agreement between Worley & Obetz, Inc. and the Commonwealth of
       Pennsylvania, Department of Environmental Protection, Office of Pollution Prevention
       and Energy Assistance
   3. Lease Agreement between 333 Sylvan Avenue, LLC and Amerigreen Energy, Inc. dated
       April 26, 2013
   4. Lease Agreement between 333 Sylvan Avenue, LLC and Amerigreen Energy, Inc. dated
       April 22, 2015
   5. Commercial Lease Agreement between Lyons & Obetz and AmeriGreen dated April 1,
       2014
           a. AmeriGreen has the right to assign the lease to a corporation with which
              AmeriGreen may merge or consolidate, to any subsidiary of AmeriGreen, to any
              corporation under common control with AmeriGreen or to a purchaser of
              substantially all of AmeriGreen’s assets without consent.
   6. Commercial Lease Agreement between Lyons & Obetz and AmeriGreen dated July 1,
       2011
           a. AmeriGreen has the right to assign the lease to a corporation with which
              AmeriGreen may merge or consolidate, to any subsidiary of AmeriGreen, to any
              corporation under common control with AmeriGreen or to a purchaser of
              substantially all of AmeriGreen’s assets without consent.
   7. Lease Agreement between RZ Realty, LP and AmeriGreen Energy, Inc. dated November
       25, 2014
           a. AmeriGreen Energy, Inc. has the right to assign the lease to an affiliate or
              successor by reason of merger, consolidation, asset or stock acquisition without
              consent.
   8. Equipment Lease Agreement between Elbow River Marketing USA LTD and
       AmeriGreen Propane, LLC dated July 1, 2017
   9. Biodiesel Terminal Storage and Thru Put Agreement between Westmore Fuel Co., Inc,
       and AmeriGreen Energy dated October 30, 2014
           a. AmeriGreen has the right to assign to an affiliate or subsidiary without consent.
   10. Propane Throughput Agreement between AmeriGreen Energy and Boyle Energy
           a. Agreement states that Boyle Energy may assign without prior written consent,
              implying that AmeriGreen Energy cannot because the agreement can only be
              amended by written consent.
   11. Thruput Agreement between General Bangtson LLC and AmeriGreen Energy, Inc.
   12. Lease Agreement between Buckeye Energy Services, LLC and Worley & Obetz Inc.
       dated June 28, 2017
   13. Lease Agreement between Buckeye Terminals, LLC and Worley & Obetz Inc. dated
       September 19, 2014
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3760 Tank Farm Road, Emmaus, PA 18049 (Buckeye Energy Services, LLC) – parking space
for one truck.

PA Route 272 and Garden Spot Road, Ephrata, PA 17522 (Lester R. Summers, Inc.) - parking
space for two trucks.

1575 Ferndale Avenue, Johnstown, PA 15905 (Tri-County Motor Sales) – parking space for
seven trucks.

7043 Ellenberger Drive, Altoona, PA 16601 (Sel-Lo Oil, Inc.) - parking space for one truck.

1425 North Maxwell Street, Allentown, PA 18109 (Shadow Group Three, LLC) - parking space
for one truck.

101 East Cherry Street, Elizabethtown, PA 17022 (Lime Ridge Farm Properties, LP) – lease of
land and underground storage tanks, gasoline/diesel pumps and canopy owned by Seller.
Cardlock Asset – Excluded.

854 South 16th Street, Harrisburg, PA 17104 (Scheler Realty, LLC) – lease of land, underground
storage tanks, diesel and diesel exhaust fluid dispensers. Cardlock Asset – Excluded.
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                                         Schedule 3.5

                                     Required Consents


The following agreements require written consent:
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   2. DEP Grant Agreement between Worley & Obetz, Inc. and the Commonwealth of
       Pennsylvania, Department of Environmental Protection, Office of Pollution Prevention
       and Energy Assistance
   3. Lease Agreement between 333 Sylvan Avenue, LLC and Amerigreen Energy, Inc. dated
       April 26, 2013
   4. Lease Agreement between 333 Sylvan Avenue, LLC and Amerigreen Energy, Inc. dated
       April 22, 2015
   5. Commercial Lease Agreement between Lyons & Obetz and AmeriGreen dated April 1,
       2014
           a. AmeriGreen has the right to assign the lease to a corporation with which
              AmeriGreen may merge or consolidate, to any subsidiary of AmeriGreen, to any
              corporation under common control with AmeriGreen or to a purchaser of
              substantially all of AmeriGreen’s assets without consent.
   6. Commercial Lease Agreement between Lyons & Obetz and AmeriGreen dated July 1,
       2011
           a. AmeriGreen has the right to assign the lease to a corporation with which
              AmeriGreen may merge or consolidate, to any subsidiary of AmeriGreen, to any
              corporation under common control with AmeriGreen or to a purchaser of
              substantially all of AmeriGreen’s assets without consent.
   7. Lease Agreement between RZ Realty, LP and AmeriGreen Energy, Inc. dated November
       25, 2014
           a. AmeriGreen Energy, Inc. has the right to assign the lease to an affiliate or
              successor by reason of merger, consolidation, asset or stock acquisition without
              consent.
   8. Equipment Lease Agreement between Elbow River Marketing USA LTD and
       AmeriGreen Propane, LLC dated July 1, 2017
   9. Biodiesel Terminal Storage and Thru Put Agreement between Westmore Fuel Co., Inc,
       and AmeriGreen Energy dated October 30, 2014
           a. AmeriGreen has the right to assign to an affiliate or subsidiary without consent.
   10. Propane Throughput Agreement between AmeriGreen Energy and Boyle Energy
           a. Agreement states that Boyle Energy may assign without prior written consent,
              implying that AmeriGreen Energy cannot because the agreement can only be
              amended by written consent.
   11. Thruput Agreement between General Bangtson LLC and AmeriGreen Energy, Inc.
   12. Lease Agreement between Buckeye Energy Services, LLC and Worley & Obetz Inc.
       dated June 28, 2017
   13. Lease Agreement between Buckeye Terminals, LLC and Worley & Obetz Inc. dated
       September 19, 2014
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   14. Lease Agreement between Crowe Realty, LLC and Worley & Obetz dated September 8,
       2005
   15. Lease Agreement between Crowe Realty, LLC and Worley & Obetz dated October 1,
       2010
   16. Lease and Purchase Agreement between Crowe Realty, LLC and Worley & Obetz dated
       September 9, 2010
   17. Commercial Lease Agreement between Doe Run Road LLC and Worley & Obetz Inc.
       dated January 1, 2012
           a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
               Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
               to any corporation under common control with Worley & Obetz, or to a purchaser
               of substantially all of Worley & Obetz’s assets without consent.
   18. Commercial Lease Agreement between Doe Run Road LLC and Worley & Obetz Inc.
       dated June 1, 2012
           a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
               Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
               to any corporation under common control with Worley & Obetz, or to a purchaser
               of substantially all of Worley & Obetz’s assets without consent.
   19. Commercial Lease Agreement between Doe Run Road LLC and Worley & Obetz Inc.
       dated September 1, 2011
           a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
               Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
               to any corporation under common control with Worley & Obetz, or to a purchaser
               of substantially all of Worley & Obetz’s assets without consent.
   20. Agreement between H. L. Wiker, Inc. and Worley & Obetz, Inc. dated August 2008
           a. Even if written consent is granted, Worley & Obetz is still liable for payment of
               all terms, conditions, and covenants.
   21. Lease Agreement between H. L. Wiker, Inc. and Worley & Obetz, Inc. dated January 16,
       2008
           a. Even if written consent is granted, Worley & Obetz is still liable for payment of
               all terms, conditions, and covenants.
   22. Lease Agreement between J. W. Bishop Properties, LLC and Worley & Obetz, Inc. dated
       March 4, 2013
   23. Commercial Lease Agreement between Lester R. Summers, Inc. and Worley & Obetz
       Inc. dated July 1, 2015
   24. Commercial Lease Agreement between Lester R. Summers, Inc. and Worley & Obetz
       Inc. dated September 1, 2016
   25. Commercial Lease Agreement between Lyons & Obetz and Worley & Obetz Inc. dated
       September 1, 2016 (41 Doe Run Road)
           a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
               Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
               to any corporation under common control with Worley & Obetz, or to a purchaser
               of substantially all of Worley & Obetz’s assets without consent.
   26. Commercial Lease Agreement between Lyons & Obetz and Worley & Obetz Inc. dated
       September 1, 2016 (55 Doe Run Road)
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            a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
               Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
               to any corporation under common control with Worley & Obetz, or to a purchaser
               of substantially all of Worley & Obetz’s assets without consent.
   27. Commercial Lease Agreement between Lyons & Obetz and Worley & Obetz Inc. dated
       September 1, 2009
            a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
               Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
               to any corporation under common control with Worley & Obetz, or to a purchaser
               of substantially all of Worley & Obetz’s assets without consent.
   28. Commercial Lease between Obetz Enterprises and Worley & Obetz Inc. dated April 24,
       1997
   29. DEP Grant Agreement Worley & Obetz, Inc. and the Commonwealth of Pennsylvania,
       Department of Environmental Protection, Office of Pollution Prevention and Energy
       Assistance dated July 6, 2017
   30. Operating Agreement of PJM Interconnection, LLC (to which AmeriGreen Energy, Inc.
       is a member)
            a. The rights and obligations created by the Agreement shall inure to and bind the
               successors and assigns of AmeriGreen; provided, however, that the rights and
               obligations of AmeriGreen hereunder shall not be assigned without the approval
               of the Members Committee except as to a successor in operation of AmeriGreen’s
               electric operating properties by reason of a merger, consolidation, reorganization,
               sale, spin-off, or foreclosure, as a result of which substantially all such electric
               operating properties are acquired by such a successor, and such successor
               becomes a Member.
   31. Product Sales Agreement between UGI Energy Services, LLC and AmeriGreen Energy,
       Inc. dated May 19, 2014
            a. If AmeriGreen is assigning the agreement to an affiliate (who’s creditworthiness
               is comparable to or higher than that of the AmeriGreen), or assigning the
               agreement to any person or entity succeeding to all or substantially all of the
               assets of the AmeriGreen, then only written notice is required.
   32. Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
       Services, LLC dated May 1, 2014
            a. Agreement states that UGI Energy Services, LLC may assign without prior
               written consent, implying that AmeriGreen Energy, Inc. cannot because the
               agreement can only be amended by written consent.
   33. Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
       Services, LLC dated May 1, 2015
            a. Agreement states that UGI Energy Services, LLC may assign without prior
               written consent, implying that AmeriGreen Energy, Inc. cannot because the
               agreement can only be amended by written consent.
   34. Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
       Services, LLC dated May 1, 2016
            a. Agreement states that UGI Energy Services, LLC may assign without prior
               written consent, implying that AmeriGreen Energy, Inc. cannot because the
               agreement can only be amended by written consent.
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   35. Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
       Services, LLC dated June 1, 2017
           a. Agreement states that UGI Energy Services, LLC may assign without prior
               written consent, implying that AmeriGreen Energy, Inc. cannot because the
               agreement can only be amended by written consent.
   36. Propane Throughput Agreement between AmeriGreen Energy, Inc. and UGI Energy
       Services, LLC dated May 3, 2018
           a. Agreement states that UGI Energy Services, LLC may assign without prior
               written consent, implying that AmeriGreen Energy, Inc. cannot because the
               agreement can only be amended by written consent.
   37. Propane Throughput Agreement between AmeriGreen Energy and RF Ohl Fuel Oil, Inc.
       dated July 1, 2014
           a. Agreement states that RF Ohl Fuel Oil, Inc. may assign without prior written
               consent, implying that AmeriGreen Energy, Inc. cannot because the agreement
               can only be amended by written consent.
   38. Propane Throughput Agreement between AmeriGreen Propane LLC and RF Ohl Fuel
       Oil, Inc. dated July 1, 2017
           a. Agreement states that RF Ohl Fuel Oil, Inc. may assign without prior written
               consent, implying that AmeriGreen Energy, Inc. cannot because the agreement
               can only be amended by written consent.
   39. Lease Agreement between Rohrer’s Quarry and Worley & Obetz dated June 1, 2014
   40. Commercial Lease Agreement between Seth Obetz and Worley & Obetz Inc. dated
       January 1, 2010
           a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
               Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
               to any corporation under common control with Worley & Obetz, or to a purchaser
               of substantially all of Worley & Obetz’s assets without consent.
   41. Commercial Lease Agreement between Seth Obetz and Worley & Obetz Inc. dated
       January 1, 2011
           a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
               Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
               to any corporation under common control with Worley & Obetz, or to a purchaser
               of substantially all of Worley & Obetz’s assets without consent.
   42. Commercial Lease Agreement between Seth Obetz and Worley & Obetz Inc. dated
       September 1, 2012
           a. Worley & Obetz Inc. has the right to assign the lease to a corporation with which
               Worley & Obetz may merge or consolidate, to any subsidiary of Worley & Obetz,
               to any corporation under common control with Worley & Obetz, or to a purchaser
               of substantially all of Worley & Obetz’s assets without consent.
   43. Biodiesel Storage & Marketing Agreement between AmeriGreen Energy, Inc. and
       Buckeye Terminals, LLC dated October 1, 2012
           a. Written consent is not needed for an assignment to an affiliate, a successor of all
               or substantially all of the assignor’s business and assets, or any entity that the
               assignor merges into or consolidates with. However, an assignment to an affiliate
               will not relieve the transferor of any of its obligations.
   44. Agreement between IPT, LLC and AmeriGreen Energy Inc. (January 2012)
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          a. Written consent is not needed for an assignment to one or more of the assignor’s
              wholly owned corporate affiliates or subsidiaries or to a successor of all or of
              substantially all of the assignor’s entire business and assets or to a corporation
              which assignor merges into or consolidates with. However, an assignment to a
              corporate affiliate or subsidiary will not relieve the assignor of any of its
              obligations.
   45. Agreement between IPT, LLC and AmeriGreen Energy Inc. (July 2012)
          a. Written consent is not needed for an assignment to one or more of the assignor’s
              wholly owned corporate affiliates or subsidiaries or to a successor of all or of
              substantially all of the assignor’s entire business and assets or to a corporation
              which assignor merges into or consolidates with. However, an assignment to a
              corporate affiliate or subsidiary will not relieve the assignor of any of its
              obligations.
   46. Agreement between IPT, LLC and AmeriGreen Energy Inc. (November 2014)
          a. Written consent is not needed for an assignment to one or more of the assignor’s
              wholly owned corporate affiliates or subsidiaries or to a successor of all or of
              substantially all of the assignor’s entire business and assets or to a corporation
              which assignor merges into or consolidates with. However, an assignment to a
              corporate affiliate or subsidiary will not relieve the assignor of any of its
              obligations.
   47. Agreement between IPT, LLC and AmeriGreen Energy Inc. (November 2016)
          a. Written consent is not needed for an assignment to one or more of the assignor’s
              wholly owned corporate affiliates or subsidiaries or to a successor of all or of
              substantially all of the assignor’s entire business and assets or to a corporation
              which assignor merges into or consolidates with. However, an assignment to a
              corporate affiliate or subsidiary will not relieve the assignor of any of its
              obligations.
   48. Agreement between IPT, LLC and AmeriGreen Energy Inc. (November 2017)
          a. Written consent is not needed for an assignment to one or more of the assignor’s
              wholly owned corporate affiliates or subsidiaries or to a successor of all or of
              substantially all of the assignor’s entire business and assets or to a corporation
              which assignor merges into or consolidates with. However, an assignment to a
              corporate affiliate or subsidiary will not relieve the assignor of any of its
              obligations.
   49. Tank Storage Agreement between Colmar Terminal, Inc. and AmeriGreen, Inc. dated
       February 19, 2014
          a. Written consent is not needed for a merger, consolidation, or transfer of all of the
              transferor’s assets for valid business purposes (other than the avoidance of
              obligations under the agreement).
   50. Terminalling Agreement between AmeriGreen Energy and Arc Terminals Pennsylvania
       Holdings LLC dated July 25, 2016
          a. AmeriGreen Energy may assign the agreement to an affiliate, but it will still be
              liable for the obligations.
   51. Terminal Services Agreement between Plains Products Terminals LLC and AmeriGreen
       Energy Inc. dated May 1, 2010
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           a. AmeriGreen Energy may assign the agreement to an affiliate or subsidiary upon
               10 days prior written notice, but it will still be liable for the obligations.
   52. Product Terminal Services Agreement between Sunoco Partners Marketing & Terminals
       and AmeriGreen dated November 21, 2014
           a. Written consent is not needed for an assignment to one or more of the assignor’s
               affiliates or subsidiaries, or to a successor of all or of substantially all of the
               assignor’s business and assets or to a corporation which assignor merges into or
               consolidates with. However, an assignment will not relieve the assignor of any of
               its obligations.
   53. Biodiesel Terminal Storage and Thru Put Agreement between Windsor Fuel Co., Inc. and
       AmeriGreen Energy dated August 1, 2015
           a. AmeriGreen Energy may assign the agreement to an affiliate or subsidiary.
   54. Terminal Throughput Agreement between Fred M. Schildwachter & Sons, Inc. and
       AmeriGreen Energy, Inc. dated November 9, 2015
   55. Terminal Throughput Agreement between Fred M. Schildwachter & Sons, Inc. and
       AmeriGreen Energy, Inc. dated September 2014
   56. Master Agreement between Vendor Services Group and Worley & Obetz (December
       2016)
   57. Lease Agreement between Waverly Trade Center, LLC and Worley & Obetz dated May
       1, 2013
   58. Lease Agreement between H. C. Rineer Sons Partnership (“Landlord”) and Worley &
       Obetz dated May 30, 2006
           a. Worley & Obetz remains liable to H. C. Rineer unless otherwise agreed to in
               writing by H. C. Rineer.


The following agreements require approval, but it does not need to be written:
       1. Franchise Agreement for a Pacific Pride Commercial Fueling System Territory
          between Pacific Pride Services, LLC and Worley & Obetz Inc.


The following agreements contain restrictions on sharing information and thus approval should
be obtained:
       1. Non-Disclosure Agreement between Mansfield Oil Company of Gainesville, Inc. and
           AmeriGreen Energy, Inc. dated July 28, 2017
       2. Confidentiality Agreement between Elbow River Marketing LTD. and AmeriGreen
           Propane, LLC
       3. Non-Disclosure Agreement between Superior Gas Liquids and AmeriGreen Propane,
           LLC
       4. Confidentiality and Non-Disclosure Agreement (Letter form) between United Metro
           Energy Corp. and AmeriGreen Energy dated July 20, 2017
       5. Confidentiality and Non-Disclosure Agreement (Letter form) between IPC(USA),
           Inc. and AmeriGreen Energy, Inc. dated January 2, 2018
       6. Confidentiality Agreement between U.S. Venture Inc. and AmeriGreen Energy, Inc.
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                                     Schedule 3.6

                                      Litigation


None.
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                                     Schedule 3.7

                                       Permits


None.
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                                    Schedule 3.10

                                Environmental Matters

None.
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                                    Schedule 3.11

                                    Real Property



None.
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                                       Schedule 3.12

                                   Employment Matters

   •   Worley & Obetz, Inc. 401k Plan
   •   Robert H. Ranck, Inc. 401k Plan – assumed on sale of Ranck Plumbing Heating & Air
       Conditioning, Inc.
   •   Worley & Obetz, Inc. Health Plan
   •   Amerigreen Energy, Inc. Health Plan – terminated for non-payment effective June 30,
       2018
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                                       Schedule 3.15

                                         Insurance

 WORLEY & OBETZ, INC.
 Updated 6/6/18                                       2018

 CASUALTY/SUMMIT:           Underwritten By: Old Republic/Effective 2/1/2018-19
  Workers Compensation     $      1,000,000     Accident/Disease/Employee
                           $     15,000,000     Payroll Projection
  General Liability        $      1,000,000     Occurrence
                           $      2,000,000     Aggregate
                           $      1,000,000     Employee Benefits Liability
                                                Sales
                           $    537,500,000     Projection
  Automobile               $      1,000,000     Bodily Injury/Property Damage Liability
                                $250 and $500 Comprehensive/Collision Deductibles
                              $          1,000 Tractor Deductibles
                                           284 Total Vehicles

 UMBRELLA:                 Underwritten By: Allied World/Effective 2/1/2018-19
                           $     15,000,000      Occurrence/Aggregate
                           $         10,000      Retention

 XS AUTO UMBRELLA:         Underwritten By: Endurance/Effective 2/1/2018-19
                           $      4,000,000    Occurrence/Aggregate
                           $             -     Retention

 POLLUTION:                 Underwritten By: Chubb/Ace American/Effective 2/1/2018-20
                           $      4,000,000     Aggregate Program
                           $      4,000,000     Occurrence
                              $         50,000 Deductible

 EXECUTIVE                 Underwritten By: Travelers/Effective 2/1/2018-19
 PROTECTION:               $      2,000,000     Fiduciary
                           $      2,000,000     Employment Practices
                                                Employee
                           $         50,000     Theft
                           $      1,000,000     Cyber Liability - added to this policy 2/1/17
                           $      1,000,000     Third Party

 PROPERTY:                 Underwritten By: XL Insurance/Effective 2/1/2018-19
                           $     25,517,929     Property Limits
                                                Business
                           $      5,000,000     Income
                           $      2,500,000     Earthquake
                           $          1,000     Property Deductible
                           $         25,000     Earthquake Deductible
                           $         50,000     Motor Truck Cargo/Filings Included
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                            $         25,000      Installation
                            $         87,900      Contractors Equipment
                            $       1,700,000     Electronic Data Processing

 BOILER & MACHINERY:        Underwritten By: Travelers/Effective 2/1/2018-19
                            $     24,982,032     Property Limit
                            $      5,000,000     Business Interruption
                            $          2,500     Deductible

 McConkey Service Fee       $            500      Per Month 2/1/18-19

 PERSONAL
 UMBRELLAS:                 Effective 7/1/17-18
                            $       5,000,000     Jeff Lyons                        CHUBB




 Amerigreen Energy, Inc.

 Coverages                                                               2-1-2018
 Property (including floaters)
                                           Limits                    $     6,155,500
                                           Premium
                                           (Incl.
                                           Tax/Fee)                  $         13,365
 General Liability
                                           Gallons                   $ 60,000,000
                                           Sales (Lube)              $    200,000
                                           Premium                   $     52,447
 Automobile
                                           # of Units                $             15
                                           Premium                   $         15,409
 Workers’ Compensation
                                           Payroll                   $     2,775,000
                                           Premium                   $         9,966
 Umbrella
                                           Limit                     $     3,000,000
                                           Premium                   $        12,198

 McConkey Energi Fee                                                 $          9,751
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 Executive Protection
                                          D&O & EPL
                                          Limit                $    1,000,000
                                          Premium              $       10,339

 Pollution                                                     2/1/18 to 2/1/19
                                          Limit                $    2,000,000
                                          Premium              $       20,770

 Credit Insurance - 11-30-17/18                                $       26,208

 All policies are paid in full                                 $      170,453
